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    steven.serajeddini@kirkland.com
    ciara.foster@kirkland.com

    Proposed Co-Counsel for Debtors and                         Proposed Co-Counsel for Debtors and
    Debtors in Possession                                       Debtors in Possession

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

    In re:

    WEWORK INC.,                                               Chapter 11

                             Debtor. 1                         Case No. 23-19865 (JKS)
    In re:

    1 BEACON STREET TENANT LLC,                                Chapter 11

                             Debtor.                           Case No. 23-19877 (JKS)
    In re:

    1 BELVEDERE DRIVE TENANT LLC,                              Chapter 11

                             Debtor.                           Case No. 23-19885 (JKS)
    In re:

    1 GLENWOOD AVE TENANT LLC,                                 Chapter 11

                             Debtor.                           Case No. 23-19893 (JKS)



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       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
       principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
       in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
       Beaverton, OR 97005.
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 In re:

 1 LINCOLN STREET TENANT LLC,                  Chapter 11

                    Debtor.                    Case No. 23-19890 (JKS)
 In re:

 1 MILK STREET TENANT LLC,                     Chapter 11

                    Debtor.                    Case No. 23-19903 (JKS)
 In re:

 1 POST STREET TENANT LLC,                     Chapter 11

                    Debtor.                    Case No. 23-19920 (JKS)
 In re:

 1 SOUTH DEARBORN STREET TENANT LLC,           Chapter 11

                    Debtor.                    Case No. 23-19934 (JKS)
 In re:

 1 UNION SQUARE WEST HQ LLC,                   Chapter 11

                    Debtor.                    Case No. 23-19955 (JKS)
 In re:

 10 EAST 38TH STREET TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-19969 (JKS)
 In re:

 10 EAST 40TH STREET HQ LLC,                   Chapter 11

                    Debtor.                    Case No. 23-19987 (JKS)
 In re:

 100 BAYVIEW CIRCLE TENANT LLC,                Chapter 11

                    Debtor.                    Case No. 23-20006 (JKS)
 In re:

 100 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                    Case No. 23-20024 (JKS)




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 In re:

 100 S STATE STREET TENANT LLC,                Chapter 11

                    Debtor.                    Case No. 23-20050 (JKS)
 In re:

 100 SUMMER STREET TENANT LLC,                 Chapter 11

                    Debtor.                    Case No. 23-20063 (JKS)
 In re:

 10000 WASHINGTON BOULEVARD TENANT             Chapter 11
 LLC,
                                               Case No. 23-20080 (JKS)
                    Debtor.
 In re:

 1001 WOODWARD AVE TENANT LLC,                 Chapter 11

                    Debtor.                    Case No. 23-20098 (JKS)
 In re:

 1003 EAST 4TH PLACE TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-20123 (JKS)
 In re:

 101 EAST WASHINGTON STREET TENANT             Chapter 11
 LLC,
                                               Case No. 23-20142 (JKS)
                    Debtor.
 In re:

 101 MARIETTA STREET NORTHWEST                 Chapter 11
 TENANT LLC,
                                               Case No. 23-20160 (JKS)
                    Debtor.
 In re:

 101 NORTH 1ST AVENUE TENANT LLC,              Chapter 11

                    Debtor.                    Case No. 23-20176 (JKS)




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 In re:

 10250 CONSTELLATION TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-20193 (JKS)
 In re:

 1031 SOUTH BROADWAY TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-20208 (JKS)
 In re:

 10585 SANTA MONICA BOULEVARD                  Chapter 11
 TENANT LLC,
                                               Case No. 23-20220 (JKS)
                    Debtor.
 In re:

 10845 GRIFFITH PEAK DRIVE TENANT LLC,         Chapter 11

                    Debtor.                    Case No. 23-20235 (JKS)
 In re:

 10885 NE 4TH STREET TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-20251 (JKS)
 In re:

 109 S 5TH STREET TENANT LLC,                  Chapter 11

                    Debtor.                    Case No. 23-20265 (JKS)
 In re:

 1090 WEST PENDER STREET TENANT LP,            Chapter 11

                    Debtor.                    Case No. 23-19873 (JKS)
 In re:

 10900 STONELAKE BOULEVARD TENANT              Chapter 11
 LLC,
                                               Case No. 23-20282 (JKS)
                    Debtor.
 In re:

 1099 STEWART STREET TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-20296 (JKS)



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 In re:

 11 PARK PL TENANT LLC,                        Chapter 11

                    Debtor.                    Case No. 23-20313 (JKS)
 In re:

 110 110TH AVENUE NORTHEAST TENANT             Chapter 11
 LLC,
                                               Case No. 23-20336 (JKS)
                    Debtor.
 In re:

 110 CORCORAN STREET TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-20344 (JKS)
 In re:

 110 WALL MANAGER LLC,                         Chapter 11

                    Debtor.                    Case No. 23-20349 (JKS)
 In re:

 1100 15TH STREET NW TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-20358 (JKS)
 In re:

 1100 LUDLOW STREET TENANT LLC,                Chapter 11

                    Debtor.                    Case No. 23-20353 (JKS)
 In re:

 1100 MAIN STREET TENANT LLC,                  Chapter 11

                    Debtor.                    Case No. 23-20356 (JKS)
 In re:

 1111 BROADWAY TENANT LLC,                     Chapter 11

                    Debtor.                    Case No. 23-20032 (JKS)
 In re:

 1111 WEST 6TH STREET TENANT LLC,              Chapter 11

                    Debtor.                    Case No. 23-20044 (JKS)




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 In re:

 1114 W FULTON MARKET Q LLC,                   Chapter 11

                    Debtor.                    Case No. 23-20059 (JKS)
 In re:

 1115 BROADWAY Q LLC,                          Chapter 11

                    Debtor.                    Case No. 23-20065 (JKS)
 In re:

 1115 HOWELL MILL ROAD TENANT LLC,             Chapter 11

                    Debtor.                    Case No. 23-20074 (JKS)
 In re:

 1115 W FULTON MARKET Q LLC,                   Chapter 11

                    Debtor.                    Case No. 23-20085 (JKS)
 In re:

 115 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                    Case No. 23-19894 (JKS)
 In re:

 115 EAST 23RD STREET TENANT LLC,              Chapter 11

                    Debtor.                    Case No. 23-19906 (JKS)
 In re:

 1150 SOUTH OLIVE STREET TENANT LLC,           Chapter 11

                    Debtor.                    Case No. 23-20097 (JKS)
 In re:

 1155 PERIMETER CENTER WEST TENANT             Chapter 11
 LLC,
                                               Case No. 23-20116 (JKS)
                    Debtor.
 In re:

 1155 WEST FULTON STREET TENANT LLC,           Chapter 11

                    Debtor.                    Case No. 23-20125 (JKS)




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 In re:

 1156 6TH AVENUE TENANT LLC,                   Chapter 11

                    Debtor.                    Case No. 23-20136 (JKS)
 In re:

 117 NE 1ST AVE TENANT LLC,                    Chapter 11

                    Debtor.                    Case No. 23-19916 (JKS)
 In re:

 1175 PEACHTREE TENANT LLC,                    Chapter 11

                    Debtor.                    Case No. 23-20148 (JKS)
 In re:

 11801 DOMAIN BLVD TENANT LLC,                 Chapter 11

                    Debtor.                    Case No. 23-20292 (JKS)
 In re:

 12 EAST 49TH STREET TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-19876 (JKS)
 In re:

 12 SOUTH 1ST STREET TENANT LLC,               Chapter 11

                    Debtor.                    Case No. 23-19882 (JKS)
 In re:

 120 WEST TRINITY PLACE TENANT LLC,            Chapter 11

                    Debtor.                    Case No. 23-19933 (JKS)
 In re:

 1200 17TH STREET TENANT LLC,                  Chapter 11

                    Debtor.                    Case No. 23-20157 (JKS)
 In re:

 1200 FRANKLIN AVENUE TENANT LLC,              Chapter 11

                    Debtor.                    Case No. 23-20171 (JKS)




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 In re:

 1201 3RD AVENUE TENANT LLC,                   Chapter 11

                    Debtor.                    Case No. 23-20183 (JKS)
 In re:

 1201 WILLS STREET TENANT LLC,                 Chapter 11

                    Debtor.                    Case No. 23-20196 (JKS)
 In re:

 1201 WILSON BLVD TENANT LLC,                  Chapter 11

                    Debtor.                    Case No. 23-20202 (JKS)
 In re:

 12130 MILLENNIUM DRIVE TENANT LLC,            Chapter 11

                    Debtor.                    Case No. 23-20305 (JKS)
 In re:

 1240 ROSECRANS TENANT LLC,                    Chapter 11

                    Debtor.                    Case No. 23-20212 (JKS)
 In re:

 125 S CLARK STREET TENANT LLC,                Chapter 11

                    Debtor.                    Case No. 23-19942 (JKS)
 In re:

 125 WEST 25TH STREET TENANT LLC,              Chapter 11

                    Debtor.                    Case No. 23-19952 (JKS)
 In re:

 12655 JEFFERSON BLVD TENANT LLC,              Chapter 11

                    Debtor.                    Case No. 23-20312 (JKS)
 In re:

 128 SOUTH TRYON STREET TENANT LLC,            Chapter 11

                    Debtor.                    Case No. 23-19967 (JKS)




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 In re:

 130 5TH AVENUE TENANT LLC,                    Chapter 11

                    Debtor.                    Case No. 23-19973 (JKS)
 In re:

 130 MADISON AVENUE TENANT LLC,                Chapter 11

                    Debtor.                    Case No. 23-19981 (JKS)
 In re:

 130 W 42ND STREET TENANT LLC,                 Chapter 11

                    Debtor..                   Case No. 23-19991 (JKS)
 In re:

 1305 2ND STREET Q LLC,                        Chapter 11

                    Debtor.                    Case No. 23-20219 (JKS)
 In re:

 1330 LAGOON AVENUE TENANT LLC,                Chapter 11

                    Debtor.                    Case No. 23-20227 (JKS)
 In re:

 1333 NEW HAMPSHIRE AVENUE                     Chapter 11
 NORTHWEST TENANT LLC,
                                               Case No. 23-20239 (JKS)
                    Debtor.
 In re:

 135 E 57TH STREET TENANT LLC,                 Chapter 11

                    Debtor.                    Case No. 23-19999 (JKS)
 In re:

 135 MADISON AVE TENANT LLC,                   Chapter 11

                    Debtor.                    Case No. 23-20010 (JKS)
 In re:

 1372 PEACHTREE STREET NE TENANT LLC,          Chapter 11

                    Debtor.                    Case No. 23-20248 (JKS)




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 In re:

 1389 PEACHTREE STREET NORTHWEST             Chapter 11
 TENANT LLC,
                                             Case No. 23-20257 (JKS)
                    Debtor.
 In re:

 1400 LAVACA STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20268 (JKS)
 In re:

 1410 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20277 (JKS)
 In re:

 1411 4TH AVENUE TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20287 (JKS)
 In re:

 142 W 57TH STREET TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20019 (JKS)
 In re:

 1430 WALNUT STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-19880 (JKS)
 In re:

 1440 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-19891 (JKS)
 In re:

 1448 NW MARKET STREET TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-19900 (JKS)
 In re:

 1449 WOODWARD AVENUE TENANT LLC,            Chapter 11

                    Debtor.                  Case No. 23-19912 (JKS)




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 In re:

 145 W 45TH STREET TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-19925 (JKS)
 In re:

 1450 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-19937 (JKS)
 In re:

 1453 3RD STREET PROMENADE Q LLC,            Chapter 11

                    Debtor.                  Case No. 23-19948 (JKS)
 In re:

 1455 MARKET STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-19964 (JKS)
 In re:

 1460 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-19974 (JKS)
 In re:

 148 LAFAYETTE STREET TENANT LLC,            Chapter 11

                    Debtor.                  Case No. 23-19986 (JKS)
 In re:

 149 5TH AVENUE TENANT LLC,                  Chapter 11

                    Debtor.                  Case No. 23-19997 (JKS)
 In re:

 149 MADISON AVENUE TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20013 (JKS)
 In re:

 15 WEST 27TH STREET TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20022 (JKS)




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 In re:

 150 4TH AVE N TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20037 (JKS)
 In re:

 152 3RD STREET TENANT LLC,                  Chapter 11

                    Debtor.                  Case No. 23-20047 (JKS)
 In re:

 1525 11TH AVE TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20061 (JKS)
 In re:

 1535 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20096 (JKS)
 In re:

 154 W 14TH STREET TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20107 (JKS)
 In re:

 1547 9TH STREET HQ LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20117 (JKS)
 In re:

 1557 WEST INNOVATION WAY TENANT LLC,        Chapter 11

                    Debtor.                  Case No. 23-20133 (JKS)
 In re:

 1560 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20077 (JKS)
 In re:

 16 EAST 34TH STREET TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20146 (JKS)




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 In re:

 160 VARICK STREET TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20159 (JKS)
 In re:

 160 W SANTA CLARA ST TENANT LLC,            Chapter 11

                    Debtor.                  Case No. 23-20168 (JKS)
 In re:

 1600 7TH AVENUE TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20182 (JKS)
 In re:

 1601 ELM STREET TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20195 (JKS)
 In re:

 1601 MARKET STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20203 (JKS)
 In re:

 1601 VINE STREET TENANT LLC,                Chapter 11

                    Debtor.                  Case No. 23-20213 (JKS)
 In re:

 161 AVENUE OF THE AMERICAS TENANT           Chapter 11
 LLC,
                                             Case No. 23-20223 (JKS)
                    Debtor.
 In re:

 1615 PLATTE STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20231 (JKS)
 In re:

 1619 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20243 (JKS)




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 In re:

 166 GEARY STREET HQ LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20253 (JKS)
 In re:

 1660 LINCOLN STREET TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20263 (JKS)
 In re:

 167 N GREEN STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20274 (JKS)
 In re:

 1700 LINCOLN STREET TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20286 (JKS)
 In re:

 1701 RHODE ISLAND AVENUE NORTHWEST          Chapter 11
 TENANT LLC,
                                             Case No. 23-20298 (JKS)
                    Debtor.
 In re:

 1725 HUGHES LANDING BOULEVARD               Chapter 11
 TENANT LLC,
                                             Case No. 23-20309 (JKS)
                    Debtor.
 In re:

 1730 MINOR AVENUE TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20316 (JKS)
 In re:

 17300 LAGUNA CANYON ROAD TENANT             Chapter 11
 LLC,
                                             Case No. 23-20323 (JKS)
                    Debtor.




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 In re:

 177 E COLORADO BLVD TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20329 (JKS)
 In re:

 1775 TYSONS BOULEVARD TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20334 (JKS)
 In re:

 18 WEST 18TH STREET TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20339 (JKS)
 In re:

 180 GEARY STREET HQ LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20343 (JKS)
 In re:

 180 SANSOME STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-19881 (JKS)
 In re:

 1814 FRANKLIN ST Q LLC,                     Chapter 11

                    Debtor.                  Case No. 23-19910 (JKS)
 In re:

 18191 VON KARMAN AVENUE TENANT LLC,         Chapter 11

                    Debtor.                  Case No. 23-19932 (JKS)
 In re:

 1825 SOUTH GRANT STREET TENANT LLC,         Chapter 11

                    Debtor.                  Case No. 23-19957 (JKS)
 In re:

 1828 WALNUT ST TENANT LLC,                  Chapter 11

                    Debtor.                  Case No. 23-19982 (JKS)




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 In re:

 183 MADISON AVENUE Q LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20005 (JKS)
 In re:

 1840 GATEWAY DR TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20030 (JKS)
 In re:

 185 MADISON AVENUE TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20053 (JKS)
 In re:

 18691 JAMBOREE ROAD TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20071 (JKS)
 In re:

 1875 K STREET NW TENANT LLC,                Chapter 11

                    Debtor.                  Case No. 23-20089 (JKS)
 In re:

 1881 BROADWAY HQ LLC,                       Chapter 11

                    Debtor.                  Case No. 23-20110 (JKS)
 In re:

 1900 MARKET STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20135 (JKS)
 In re:

 1900 POWELL STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20164 (JKS)
 In re:

 1910 NORTH OLA AVENUE TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20185 (JKS)




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 In re:

 1920 MCKINNEY AVE TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20205 (JKS)
 In re:

 195 MONTAGUE STREET TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20223 (JKS)
 In re:

 199 WATER STREET TENANT LLC,                Chapter 11

                    Debtor.                  Case No. 23-20238 (JKS)
 In re:

 2 BELVEDERE DRIVE TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20258 (JKS)
 In re:

 2 EMBARCADERO CENTER TENANT LLC,            Chapter 11

                    Debtor.                  Case No. 23-20279 (JKS)
 In re:

 2 NORTH LASALLE STREET TENANT LLC,          Chapter 11

                    Debtor.                  Case No. 23-20300 (JKS)
 In re:

 20 W KINZIE TENANT LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20321 (JKS)
 In re:

 200 BERKELEY STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20340 (JKS)
 In re:

 200 MASSACHUSETTS AVE NW TENANT             Chapter 11
 LLC,
                                             Case No. 23-20351 (JKS)
                    Debtor.


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 In re:

 200 PORTLAND TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20359 (JKS)
 In re:

 200 SOUTH BISCAYNE BLVD TENANT LLC,         Chapter 11

                    Debtor.
                                             Case No. 23-20364 (JKS)
 In re:

 200 SOUTH ORANGE AVENUE TENANT LLC,         Chapter 11

                    Debtor.
                                             Case No. 23-20365 (JKS)
 In re:

 200 SPECTRUM CENTER DRIVE TENANT            Chapter 11
 LLC,
                                             Case No. 23-20366 (JKS)
                    Debtor.
 In re:

 201 SPEAR ST TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20367 (JKS)
 In re:

 2031 3RD AVE TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20368 (JKS)
 In re:

 205 HUDSON STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20369 (JKS)
 In re:

 205 NORTH DETROIT STREET TENANT LLC,        Chapter 11

                    Debtor.
                                             Case No. 23-20370 (JKS)




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 In re:

 21 PENN PLAZA TENANT LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20371 (JKS)
 In re:

 210 N GREEN PARTNERS LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20372 (JKS)
 In re:

 210 N GREEN PROMOTER LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20373 (JKS)
 In re:

 2120 BERKELEY WAY TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20374 (JKS)
 In re:

 21255 BURBANK BOULEVARD TENANT LLC,         Chapter 11

                    Debtor.
                                             Case No. 23-20375 (JKS)
 In re:

 214 WEST 29TH STREET TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-20376 (JKS)
 In re:

 22 CORTLANDT STREET HQ LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-20377 (JKS)
 In re:

 2201 BROADWAY TENANT LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20378 (JKS)




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 In re:

 221 6TH STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-20379 (JKS)
 In re:

 2211 MICHELSON DRIVE TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-20380 (JKS)
 In re:

 222 KEARNY STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20381 (JKS)
 In re:

 222 NORTH SEPULVEDA TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20382 (JKS)
 In re:

 222 S RIVERSIDE PLAZA TENANT LLC,           Chapter 11

                    Debtor.
                                             Case No. 23-19875 (JKS)
 In re:

 2221 PARK PLACE TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19883 (JKS)
 In re:

 2222 PONCE DE LEON BLVD TENANT LLC,         Chapter 11

                    Debtor.
                                             Case No. 23-19889 (JKS)
 In re:

 225 SOUTH 6TH ST TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-19897 (JKS)




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 In re:

 225 W 39TH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-19904 (JKS)
 In re:

 229 WEST 36TH STREET TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-19911 (JKS)
 In re:

 231 11TH AVE TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-19915 (JKS)
 In re:

 2323 DELGANY STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-19924 (JKS)
 In re:

 24 FARNSWORTH STREET Q LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19931 (JKS)
 In re:

 2-4 HERALD SQUARE TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-19935 (JKS)
 In re:

 2401 ELLIOTT AVENUE TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-19943 (JKS)
 In re:

 2420 17TH STREET TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-19951 (JKS)




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 In re:

 2425 EAST CAMELBACK ROAD TENANT LLC,        Chapter 11

                    Debtor.
                                             Case No. 23-19956 (JKS)
 In re:

 245 LIVINGSTON ST Q LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-19966 (JKS)
 In re:

 25 WEST 45TH STREET HQ LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19970 (JKS)
 In re:

 250 E 200 S TENANT LLC,                     Chapter 11

                    Debtor.
                                             Case No. 23-19979 (JKS)
 In re:

 250 PARK AVENUE TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19989 (JKS)
 In re:

 255 GIRALDA AVENUE TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-19995 (JKS)
 In re:

 255 GREENWICH STREET TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-20004 (JKS)
 In re:

 255 S KING ST TENANT LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20009 (JKS)




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 In re:

 2600 EXECUTIVE PARKWAY TENANT LLC,          Chapter 11

                    Debtor.
                                             Case No. 23-20020 (JKS)
 In re:

 2700 POST OAK BLVD. TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20029 (JKS)
 In re:

 27-01 QUEENS PLAZA NORTH TENANT LLC,        Chapter 11

                    Debtor.
                                             Case No. 23-20035 (JKS)
 In re:

 2755 CANYON BLVD WW TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23- 20048 (JKS)
 In re:

 28 2ND STREET TENANT LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20057 (JKS)
 In re:

 28 WEST 44TH STREET HQ LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-20069 (JKS)
 In re:

 29 WEST 30TH STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20079 (JKS)
 In re:

 30 HUDSON STREET TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-19864 (JKS)




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 In re:

 30 WALL STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-20087 (JKS)
 In re:

 300 MORRIS STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20095 (JKS)
 In re:

 300 PARK AVENUE TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-20101 (JKS)
 In re:

 3000 OLYM BOULEVARD TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20108 (JKS)
 In re:

 3000 S ROBERTSON BLVD Q LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20113 (JKS)
 In re:

 3001 BISHOP DRIVE TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20122 (JKS)
 In re:

 3003 WOODBRIDGE AVE TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20126 (JKS)
 In re:

 3090 OLIVE STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20134 (JKS)




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 In re:

 31 ST JAMES AVE TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-20143 (JKS)
 In re:

 3101 PARK BOULEVARD TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20149 (JKS)
 In re:

 311 W 43RD STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20154 (JKS)
 In re:

 3120 139TH AVENUE SOUTHEAST TENANT          Chapter 11
 LLC,
                                             Case No. 23-20170 (JKS)
                    Debtor.
 In re:

 315 EAST HOUSTON TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20180 (JKS)
 In re:

 315 W 36TH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20188 (JKS)
 In re:

 316 WEST 12TH STREET TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-20197 (JKS)
 In re:

 3200 PARK CENTER DRIVE TENANT LLC,          Chapter 11

                    Debtor.
                                             Case No. 23-20204 (JKS)




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 In re:

 3219 KNOX STREET TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20211 (JKS)
 In re:

 3280 PEACHTREE ROAD NE TENANT LLC,          Chapter 11

                    Debtor.
                                             Case No. 23-20217 (JKS)
 In re:

 33 ARCH STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-19886 (JKS)
 In re:

 33 EAST 33RD STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-19896 (JKS)
 In re:

 33 IRVING TENANT LLC,                       Chapter 11

                    Debtor.
                                             Case No. 23-19908 (JKS)
 In re:

 330 NORTH WABASH TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-19953 (JKS)
 In re:

 3300 N. INTERSTATE 35 TENANT LLC,           Chapter 11

                    Debtor.
                                             Case No. 23-20224 (JKS)
 In re:

 332 S MICHIGAN TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-19965 (JKS)




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 In re:

 333 WEST SAN CARLOS TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-19971 (JKS)
 In re:

 3365 PIEDMONT ROAD TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20233 (JKS)
 In re:

 340 BRYANT STREET HQ LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-19980 (JKS)
 In re:

 345 4TH STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-19992 (JKS)
 In re:

 345 WEST 100 SOUTH TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20003 (JKS)
 In re:

 35 EAST 21ST STREET HQ LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19918 (JKS)
 In re:

 353 SACRAMENTO STREET TENANT LLC,           Chapter 11

                    Debtor.
                                             Case No. 23-20011 (JKS)
 In re:

 35-37 36TH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-19927 (JKS)




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 In re:

 360 NW 27TH STREET TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20025 (JKS)
 In re:

 3600 BRIGHTON BOULEVARD TENANT LLC,         Chapter 11

                    Debtor.
                                             Case No. 23-20245 (JKS)
 In re:

 38 WEST 21ST STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-19936 (JKS)
 In re:

 385 5TH AVENUE Q LLC,                       Chapter 11

                    Debtor.
                                             Case No. 23-20033 (JKS)
 In re:

 3900 W ALAMEDA AVE TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20250 (JKS)
 In re:

 391 SAN ANTONIO ROAD TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-20043 (JKS)
 In re:

 40 WATER STREET TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19945 (JKS)
 In re:

 400 CALIFORNIA STREET TENANT LLC,           Chapter 11

                    Debtor.
                                             Case No. 23-20051 (JKS)




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 In re:

 400 CAPITOL MALL TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20058 (JKS)
 In re:

 400 CONCAR DRIVE TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20064 (JKS)
 In re:

 400 LINCOLN SQUARE TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20075 (JKS)
 In re:

 400 SPECTRUM CENTER DRIVE TENANT            Chapter 11
 LLC,
                                             Case No. 23-20084 (JKS)
                    Debtor.
 In re:

 4005 MIRANDA AVE TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20261 (JKS)
 In re:

 401 SAN ANTONIO ROAD TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-20092 (JKS)
 In re:

 404 FIFTH AVENUE TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20104 (JKS)
 In re:

 4041 MACARTHUR BOULEVARD TENANT             Chapter 11
 LLC,
                                             Case No. 23-20270 (JKS)
                    Debtor.




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 In re:

 405 MATEO STREET TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20112 (JKS)
 In re:

 408 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20121 (JKS)
 In re:

 410 NORTH SCOTTSDALE ROAD TENANT            Chapter 11
 LLC,
                                             Case No. 23-20131 (JKS)
                    Debtor.
 In re:

 414 WEST 14TH STREET HQ LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20140 (JKS)
 In re:

 415 MISSION STREET TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20152 (JKS)
 In re:

 419 PARK AVENUE SOUTH TENANT LLC,           Chapter 11

                    Debtor.
                                             Case No. 23-20163 (JKS)
 In re:

 420 5TH AVENUE Q LLC,                       Chapter 11

                    Debtor.
                                             Case No. 23-20169 (JKS)
 In re:

 420 COMMERCE STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20181 (JKS)




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 In re:

 424-438 FIFTH AVENUE TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-20190 (JKS)
 In re:

 428 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20201 (JKS)
 In re:

 429 LENOX AVE TENANT LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20042 (JKS)
 In re:

 430 PARK AVENUE TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-20056 (JKS)
 In re:

 4311 11TH AVENUE NORTHEAST TENANT           Chapter 11
 LLC,
                                             Case No. 23-20362 (JKS)
                    Debtor.
 In re:

 433 HAMILTON AVENUE TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20066 (JKS)
 In re:

 437 5TH AVENUE Q LLC,                       Chapter 11

                    Debtor.
                                             Case No. 23-20083 (JKS)
 In re:

 437 MADISON AVENUE TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20099 (JKS)




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 In re:

 44 EAST 30TH STREET HQ LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19888 (JKS)
 In re:

 44 MONTGOMERY STREET TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-19901(JKS)
 In re:

 44 WALL STREET HQ LLC,                      Chapter 11

                    Debtor.
                                             Case No. 23-19921 (JKS)
 In re:

 448 NORTH LASALLE STREET TENANT LLC,        Chapter 11

                    Debtor.
                                             Case No. 23-20114 (JKS)
 In re:

 45 WEST 18TH STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-19944 (JKS)
 In re:

 450 LEXINGTON TENANT LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20128 (JKS)
 In re:

 460 PARK AVE SOUTH TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20145 (JKS)
 In re:

 460 WEST 50 NORTH TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20162 (JKS)




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 In re:

 4635 LOUGHEED HIGHWAY TENANT LP,            Chapter 11

                    Debtor.
                                             Case No. 23-19872 (JKS)
 In re:

 475 SANSOME ST TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-20177 (JKS)
 In re:

 483 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20194 (JKS)
 In re:

 49 WEST 27TH STREET HQ LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-19958 (JKS)
 In re:

 490 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20206 (JKS)
 In re:

 50 W 28TH STREET TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-19975 (JKS)
 In re:

 500 11TH AVE NORTH TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20230 (JKS)
 In re:

 500 7TH AVENUE TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-20215 (JKS)




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 In re:

 501 BOYLSTON STREET TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-20241 (JKS)
 In re:

 501 EAST KENNEDY BOULEVARD TENANT           Chapter 11
 LLC,
                                             Case No. 23-20254 (JKS)
                    Debtor.
 In re:

 501 EAST LAS OLAS BLVD TENANT LLC,          Chapter 11

                    Debtor.
                                             Case No. 23-20269 (JKS)
 In re:

 501 EASTLAKE TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20284 (JKS)
 In re:

 5049 EDWARDS RANCH TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20354 (JKS)
 In re:

 505 MAIN STREET TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-20295 (JKS)
 In re:

 505 PARK AVENUE Q LLC,                      Chapter 11

                    Debtor.
                                             Case No. 23-20306 (JKS)
 In re:

 50-60 FRANCISCO STREET TENANT LLC,          Chapter 11

                    Debtor.
                                             Case No. 23-19996 (JKS)




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 511 W 25TH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20317 (JKS)
 In re:

 515 FOLSOM STREET TENANT LLC,               Chapter 11

                    Debtor.
                                             Case No. 23-20326 (JKS)
 In re:

 515 N STATE STREET TENANT LLC,              Chapter 11

                    Debtor.
                                             Case No. 23-20331 (JKS)
 In re:

 5161 LANKERSHIM BOULEVARD TENANT            Chapter 11
 LLC,
                                             Case No. 23-20360 (JKS)
                    Debtor.
 In re:

 5215 NORTH O’CONNOR BOULEVARD               Chapter 11
 TENANT LLC,
                                             Case No. 23-20355 (JKS)
                    Debtor.
 In re:

 524 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20337 (JKS)
 In re:

 525 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-20348 (JKS)
 In re:

 53 BEACH STREET TENANT LLC,                 Chapter 11

                    Debtor.
                                             Case No. 23-20014 (JKS)




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 540 BROADWAY Q LLC,                         Chapter 11

                    Debtor.
                                             Case No. 23-20352 (JKS)
 In re:

 545 BOYLSTON STREET Q LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-20357 (JKS)
 In re:

 546 5TH AVENUE TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-20361 (JKS)
 In re:

 550 7TH AVENUE HQ LLC,                      Chapter 11

                    Debtor.
                                             Case No. 23-20363 (JKS)
 In re:

 550 KEARNY STREET HQ LLC,                   Chapter 11

                    Debtor.
                                             Case No. 23-20350 (JKS)
 In re:

 57 E 11TH STREET TENANT LLC,                Chapter 11

                    Debtor.
                                             Case No. 23-20027 (JKS)
 In re:

 575 5TH AVENUE TENANT LLC,                  Chapter 11

                    Debtor.
                                             Case No. 23-19879 (JKS)
 In re:

 575 LEXINGTON AVENUE TENANT LLC,            Chapter 11

                    Debtor.
                                             Case No. 23-19892 (JKS)




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 In re:

 5750 WILSHIRE BOULEVARD TENANT LLC,         Chapter 11

                    Debtor.
                                             Case No. 23-19902 (JKS)
 In re:

 5960 BERKSHIRE LANE TENANT LLC,             Chapter 11

                    Debtor.
                                             Case No. 23-19913 (JKS)
 In re:

 599 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.
                                             Case No. 23-19926 (JKS)
 In re:

 6 EAST 32ND STREET WW Q LLC,                Chapter 11

                    Debtor.                  Case No. 23-19949 (JKS)
 In re:

 600 B STREET TENANT LLC,                    Chapter 11

                    Debtor.                  Case No. 23-19961 (JKS)
 In re:

 600 CALIFORNIA STREET TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-19977 (JKS)
 In re:

 600 H APOLLO TENANT LLC,                    Chapter 11

                    Debtor.                  Case No. 23-19988 (JKS)
 In re:

 6001 CASS AVENUE TENANT LLC,                Chapter 11

                    Debtor.                  Case No. 23-19998 (JKS)
 In re:

 601 SOUTH FIGUEROA STREET TENANT LLC,       Chapter 11

                    Debtor.                  Case No. 23-20012 (JKS)




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 In re:

 606 BROADWAY TENANT LLC,                      Chapter 11

                      Debtor.                  Case No. 23-20023 (JKS)
 In re:

 609 5TH AVENUE TENANT LLC,                    Chapter 11

                      Debtor.                  Case No. 23-20038 (JKS)
 In re:

 609 GREENWICH STREET TENANT LLC,              Chapter 11

                      Debtor.                  Case No. 23-20049 (JKS)
 In re:

 609 MAIN STREET TENANT LLC,                   Chapter 11

                      Debtor.                  Case No. 23-20060 (JKS)
 In re:

 611 NORTH BRAND BOULEVARD TENANT              Chapter 11
 LLC,
                                               Case No. 23-20070 (JKS)
                      Debtor.
 In re:

 615 S. TENANT LLC,                            Chapter 11

                      Debtor.                  Case No. 23-20082 (JKS)
 In re:

 625 MASSACHUSETTS TENANT LLC,                 Chapter 11

                      Debtor.                  Case No. 23-20093 (JKS)
 In re:

 625 WEST ADAMS STREET TENANT LLC,             Chapter 11

                      Debtor.                  Case No. 23-20105 (JKS)
 In re:

 63 MADISON AVENUE TENANT LLC,                 Chapter 11

                      Debtor.                  Case No. 23-20119 (JKS)




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 65 EAST STATE STREET TENANT LLC,            Chapter 11

                    Debtor.                  Case No. 23-20132 (JKS)
 In re:

 650 CALIFORNIA STREET TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20147 (JKS)
 In re:

 6543 SOUTH LAS VEGAS BOULEVARD              Chapter 11
 TENANT LLC,
                                             Case No. 23-20161 (JKS)
                    Debtor.
 In re:

 655 15TH STREET NW TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20173 (JKS)
 In re:

 655 MONTGOMERY ST TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20187 (JKS)
 In re:

 655 NEW YORK AVENUE NORTHWEST               Chapter 11
 TENANT LLC,
                                             Case No. 23-20199 (JKS)
                    Debtor.
 In re:

 660 J STREET TENANT LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20209 (JKS)
 In re:

 660 NORTH CAPITOL ST NW TENANT LLC,         Chapter 11

                    Debtor.                  Case No. 23-20225 (JKS)
 In re:

 6655 TOWN SQUARE TENANT LLC,                Chapter 11

                    Debtor.                  Case No. 23-20242 (JKS)



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 In re:

 67 IRVING PLACE TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20256 (JKS)
 In re:

 6900 NORTH DALLAS PARKWAY TENANT            Chapter 11
 LLC,
                                             Case No. 23-20271 (JKS)
                    Debtor.
 In re:

 695 TOWN CENTER DRIVE TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20285 (JKS)
 In re:

 7 WEST 18TH STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20297 (JKS)
 In re:

 700 2 STREET SOUTHWEST TENANT LP,           Chapter 11

                    Debtor.                  Case No. 23-19871 (JKS)
 In re:

 700 K STREET NW TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20327 (JKS)
 In re:

 700 NORTH MIAMI TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20335 (JKS)
 In re:

 700 SW 5TH TENANT LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20341 (JKS)
 In re:

 708 MAIN ST TENANT LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20345 (JKS)




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 In re:

 71 5TH AVENUE TENANT LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20311 (JKS)
 In re:

 71 STEVENSON STREET Q LLC,                  Chapter 11

                    Debtor.                  Case No. 23-20319 (JKS)
 In re:

 711 ATLANTIC AVENUE TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20347 (JKS)
 In re:

 725 PONCE DE LEON AVE NE TENANT LLC,        Chapter 11

                    Debtor.                  Case No. 23-20228 (JKS)
 In re:

 7272 WISCONSIN AVENUE TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20240 (JKS)
 In re:

 729 WASHINGTON AVE TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20232 (JKS)
 In re:

 7300 DALLAS PARKWAY TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-19884 (JKS)
 In re:

 731 SANSOME STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-19898 (JKS)
 In re:

 75 ARLINGTON STREET TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-19909 (JKS)




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 In re:

 75 E SANTA CLARA STREET TENANT LLC,         Chapter 11

                    Debtor.                  Case No. 23-19919 (JKS)
 In re:

 75 ROCK PLZ TENANT LLC,                     Chapter 11

                    Debtor.                  Case No. 23-19929 (JKS)
 In re:

 750 LEXINGTON AVENUE TENANT LLC,            Chapter 11

                    Debtor.                  Case No. 23-19940 (JKS)
 In re:

 750 WHITE PLAINS ROAD TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-19947 (JKS)
 In re:

 755 SANSOME STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-19962 (JKS)
 In re:

 756 W PEACHTREE TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-19978 (JKS)
 In re:

 77 SANDS TENANT LLC,                        Chapter 11

                    Debtor.                  Case No. 23-19990 (JKS)
 In re:

 77 SANDS WW CORPORATE TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20000 (JKS)
 In re:

 77 SLEEPER STREET TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20015 (JKS)




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 7761 GREENHOUSE RD TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20026 (JKS)
 In re:

 777 6TH STREET NW TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20041 (JKS)
 In re:

 78 SW 7TH STREET TENANT LLC,                Chapter 11

                    Debtor.                  Case No. 23-20054 (JKS)
 In re:

 8 W 40TH STREET TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20062 (JKS)
 In re:

 80 M STREET SE TENANT LLC,                  Chapter 11

                    Debtor.                  Case No. 23-20072 (JKS)
 In re:

 800 BELLEVUE WAY TENANT LLC,                Chapter 11

                    Debtor.                  Case No. 23-20078 (JKS)
 In re:

 800 MARKET STREET TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20088 (JKS)
 In re:

 800 NORTH HIGH STREET TENANT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20100 (JKS)
 In re:

 801 B. SPRINGS ROAD TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20111 (JKS)




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 In re:

 808 WILSHIRE BOULEVARD TENANT LLC,          Chapter 11

                    Debtor.                  Case No. 23-20120 (JKS)
 In re:

 820 18TH AVE SOUTH TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20127 (JKS)
 In re:

 821 17TH STREET TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20139 (JKS)
 In re:

 83 MAIDEN LANE Q LLC,                       Chapter 11

                    Debtor.                  Case No. 23-20150 (JKS)
 In re:

 830 BRICKELL PLAZA TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20158 (JKS)
 In re:

 830 NE HOLLADAY STREET TENANT LLC,          Chapter 11

                    Debtor.                  Case No. 23-20167 (JKS)
 In re:

 8305 SUNSET BOULEVARD HQ LLC,               Chapter 11

                    Debtor.                  Case No. 23-20179 (JKS)
 In re:

 8687 MELROSE AVENUE TENANT LLC,             Chapter 11

                    Debtor.                  Case No. 23-20192 (JKS)
 In re:

 8687 MELROSE GREEN TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20200 (JKS)




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 88 U PLACE TENANT LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20207 (JKS)
 In re:

 880 3RD AVE TENANT LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20214 (JKS)
 In re:

 881 PEACHTREE STREET NORTHEAST              Chapter 11
 TENANT LLC,
                                             Case No. 23-20221 (JKS)
                    Debtor.
 In re:

 8910 UNIVERSITY CENTER LANE TENANT          Chapter 11
 LLC,
                                             Case No. 23-20226 (JKS)
                    Debtor.
 In re:

 90 SOUTH 400 WEST TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20234 (JKS)
 In re:

 901 NORTH GLEBE ROAD TENANT LLC,            Chapter 11

                    Debtor.                  Case No. 23-20244 (JKS)
 In re:

 901 WOODLAND ST TENANT LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20252 (JKS)
 In re:

 902 BROADWAY TENANT LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20264 (JKS)
 In re:

 920 5TH AVE TENANT LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20273 (JKS)



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 920 SW 6TH AVENUE TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20283 (JKS)
 In re:

 9200 TIMPANOGOS HIGHWAY TENANT LLC,         Chapter 11

                    Debtor.                  Case No. 23-20291 (JKS)
 In re:

 925 4TH AVENUE TENANT LLC,                  Chapter 11

                    Debtor.                  Case No. 23-20299 (JKS)
 In re:

 925 N LA BREA AVE TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20304 (JKS)
 In re:

 9670416 CANADA INC.,                        Chapter 11

                    Debtor.                  Case No. 23-19870 (JKS)
 In re:

 9777 WILSHIRE BOULEVARD Q LLC,              Chapter 11

                    Debtor.                  Case No. 23-19907 (JKS)
 In re:

 980 6TH AVENUE TENANT LLC,                  Chapter 11

                    Debtor.                  Case No. 23-19895 (JKS)
 In re:

 9830 WILSHIRE BOULEVARD TENANT LLC,         Chapter 11

                    Debtor.                  Case No. 23-19917 (JKS)
 In re:

 99 CHAUNCY STREET Q LLC,                    Chapter 11

                    Debtor.                  Case No. 23-19878 (JKS)




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 99 HIGH STREET TENANT LLC,                   Chapter 11

                     Debtor.                  Case No. 23-19887 (JKS)
 In re:

 BIRD INVESTCO LLC,                           Chapter 11

                     Debtor.                  Case No. 23-19928 (JKS)
 In re:

 CD LOCATIONS, LLC,                           Chapter 11

                     Debtor.                  Case No. 23-19939 (JKS)
 In re:

 CITIES BY WE LLC,                            Chapter 11

                     Debtor.                  Case No. 23-19950 (JKS)
 In re:

 CLUBHOUSE TS LLC,                            Chapter 11

                     Debtor.                  Case No. 23-19963 (JKS)
 In re:

 COMMON COFFEE, LLC,                          Chapter 11

                     Debtor.                  Case No. 23-19972 (JKS)
 In re:

 COMMON DESK DAYMAKER LLC,                    Chapter 11

                     Debtor.                  Case No. 23-19983 (JKS)
 In re:

 COMMON DESK DE, LLC,                         Chapter 11

                     Debtor.                  Case No. 23-19994 (JKS)
 In re:

 COMMON DESK HOLDINGS LLC,                    Chapter 11

                     Debtor.                  Case No. 23-20007 (JKS)




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 COMMON DESK OC, LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20018 (JKS)
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 COMMON DESK OPERATIONS LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20031 (JKS)
 In re:

 COMMON DESK WEST 7TH, LLC,                  Chapter 11

                    Debtor.                  Case No. 23-20040 (JKS)
 In re:

 CREATOR FUND MANAGING MEMBER LLC,           Chapter 11

                    Debtor.                  Case No. 23-20052 (JKS)
 In re:

 EUCLID LLC,                                 Chapter 11

                    Debtor.                  Case No. 23-19899 (JKS)
 In re:

 EUCLID WW HOLDINGS INC.,                    Chapter 11

                    Debtor.                  Case No. 23-20090 (JKS)
 In re:

 FIELDLENS LLC,                              Chapter 11

                    Debtor.                  Case No. 23-20073 (JKS)
 In re:

 FIVE HUNDRED FIFTH AVENUE HQ LLC,           Chapter 11

                    Debtor.                  Case No. 23-20103 (JKS)
 In re:

 INSURANCE SERVICES BY WEWORK LLC,           Chapter 11

                    Debtor.                  Case No. 23-19922 (JKS)




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 LEGACY TENANT LLC,                          Chapter 11

                    Debtor.                  Case No. 23-20129 (JKS)
 In re:

 MAILROOM BAR AT 110 WALL LLC,               Chapter 11

                    Debtor.                  Case No. 23-20141 (JKS)
 In re:

 MISSIONU PBC,                               Chapter 11

                    Debtor.                  Case No. 23-20153 (JKS)
 In re:

 ONE GOTHAM CENTER TENANT LLC,               Chapter 11

                    Debtor.                  Case No. 23-20165 (JKS)
 In re:

 ONE METROPOLITAN SQUARE TENANT LLC,         Chapter 11

                    Debtor.                  Case No. 23-20174 (JKS)
 In re:

 PARKMERCED PARTNER LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20186 (JKS)
 In re:

 PLAY BY WEWORK LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20198 (JKS)
 In re:

 POWERED BY WE LLC,                          Chapter 11

                    Debtor.                  Case No. 23-20210 (JKS)
 In re:

 PROJECT CAESAR LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20218 (JKS)




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 PROJECT STANDBY I LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20229 (JKS)
 In re:

 PROLIFIC INTERACTIVE LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20237 (JKS)
 In re:

 PXWE FACILITY & ASSET MANAGEMENT            Chapter 11
 SERVICES LLC,
                                             Case No. 23-20246 (JKS)
                    Debtor.
 In re:

 SOUTH TRYON STREET TENANT LLC,              Chapter 11

                    Debtor.                  Case No. 23-20259 (JKS)
 In re:

 SPACIOUS TECHNOLOGIES, LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20266 (JKS)
 In re:

 THE HUB TENANT LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20276 (JKS)
 In re:

 THE WE COMPANY MANAGEMENT                   Chapter 11
 HOLDINGS L.P.,
                                             Case No. 23-20342 (JKS)
                    Debtor.
 In re:

 THE WE COMPANY MANAGEMENT LLC,              Chapter 11

                    Debtor.                  Case No. 23-19905 (JKS)
 In re:

 THE WE COMPANY MC LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20346 (JKS)



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 THE WE COMPANY PI L.P.,                     Chapter 11

                    Debtor.                  Case No. 23-19914 (JKS)
 In re:

 WALTZ MERGER SUB LLC,                       Chapter 11

                    Debtor.                  Case No. 23-20288 (JKS)
 In re:

 WE RISE SHELL LLC,                          Chapter 11

                    Debtor.                  Case No. 23-20294 (JKS)
 In re:

 WE WORK 154 GRAND LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20303 (JKS)
 In re:

 WE WORK 349 5TH AVE LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20310 (JKS)
 In re:

 WE WORK MANAGEMENT LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20318 (JKS)
 In re:

 WE WORK RETAIL LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20324 (JKS)
 In re:

 WEINSURE HOLDCO LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20330 (JKS)
 In re:

 WELKIO LLC,                                 Chapter 11

                    Debtor.                  Case No. 23-19941 (JKS)




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 WEWORK 156 2ND LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20002 (JKS)
 In re:

 WEWORK 175 VARICK LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20017 (JKS)
 In re:

 WEWORK 25 TAYLOR LLC,                       Chapter 11

                    Debtor.                  Case No. 23-19960 (JKS)
 In re:

 WEWORK 261 MADISON LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20036 (JKS)
 In re:

 WEWORK 54 WEST 40TH LLC,                    Chapter 11

                    Debtor.                  Case No. 23-19984 (JKS)
 In re:

 WEWORK ASSET MANAGEMENT LLC,                Chapter 11

                    Debtor.                  Case No. 23-20045 (JKS)
 In re:

 WEWORK BRYANT PARK LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20068 (JKS)
 In re:

 WEWORK CANADA GP ULC,                       Chapter 11

                    Debtor.                  Case No. 23-19866 (JKS)
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 WEWORK CANADA LP ULC,                       Chapter 11

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                    Debtor.                  Case No. 23-20076 (JKS)
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 WEWORK COMPANIES U.S. LLC,                  Chapter 11

                    Debtor.                  Case No. 23-19874 (JKS)
 In re:

 WEWORK COMPANIES PARTNER LLC,               Chapter 11

                    Debtor.                  Case No. 23-19923 (JKS)
 In re:

 WEWORK CONSTRUCTION LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20091 (JKS)
 In re:

 WEWORK HOLDINGS LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20106 (JKS)
 In re:

 WEWORK INTERCO LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20118 (JKS)
 In re:

 WEWORK LA LLC,                              Chapter 11

                    Debtor.                  Case No. 23-20138 (JKS)
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 WEWORK LABS ENTITY LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20155 (JKS)
 In re:

 WEWORK LITTLE WEST 12TH LLC,                Chapter 11

                    Debtor.                  Case No. 23-20178 (JKS)




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 WEWORK MAGAZINE LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20189 (JKS)
 In re:

 WEWORK REAL ESTATE LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20216 (JKS)
 In re:

 WEWORK SERVICES LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20236 (JKS)
 In re:

 WEWORK SPACE SERVICES INC.,                 Chapter 11

                    Debtor.                  Case No. 23-20249 (JKS)
 In re:

 WEWORK SPACE SERVICES LLC,                  Chapter 11

                    Debtor.                  Case No. 23-20260 (JKS)
 In re:

 WEWORK WELLNESS LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20333 (JKS)
 In re:

 WEWORK WORKPLACE LLC,                       Chapter 11

                    Debtor.                  Case No. 23-20272 (JKS)
 In re:

 WILDGOOSE I LLC,                            Chapter 11

                    Debtor.                  Case No. 23-20280 (JKS)
 In re:

 WW 1010 HANCOCK LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20281 (JKS)




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                    Debtor.                  Case No. 23-20308 (JKS)
 In re:

 WW 11 JOHN LLC,                             Chapter 11

                    Debtor.                  Case No. 23-20290 (JKS)
 In re:

 WW 110 WALL LLC,                            Chapter 11

                    Debtor.                  Case No. 23-20315 (JKS)
 In re:

 WW 111 WEST ILLINOIS LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20322 (JKS)
 In re:

 WW 115 W 18TH STREET LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20328 (JKS)
 In re:

 WW 1161 MISSION LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20289 (JKS)
 In re:

 WW 120 E 23RD STREET LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20332 (JKS)
 In re:

 WW 1328 FLORIDA AVENUE LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20293 (JKS)
 In re:

 WW 1550 WEWATTA STREET LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20302 (JKS)




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 WW 1601 FIFTH AVENUE LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20307 (JKS)
 In re:

 WW 1875 CONNECTICUT LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20314 (JKS)
 In re:

 WW 2015 SHATTUCK LLC,                       Chapter 11

                    Debtor.                  Case No. 23-20320 (JKS)
 In re:

 WW 205 E 42ND STREET LLC,                   Chapter 11

                    Debtor.                  Case No. 23-20247 (JKS)
 In re:

 WW 210 N GREEN LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20255 (JKS)
 In re:

 WW 220 NW EIGHTH AVENUE LLC,                Chapter 11

                    Debtor.                  Case No. 23-20262 (JKS)
 In re:

 WW 222 BROADWAY LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20267 (JKS)
 In re:

 WW 2221 SOUTH CLARK LLC,                    Chapter 11

                    Debtor.                  Case No. 23-20325 (JKS)
 In re:

 WW 240 BEDFORD LLC,                         Chapter 11

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 WW 25 BROADWAY LLC,                         Chapter 11

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 WW 26 JS MEMBER LLC,                        Chapter 11

                    Debtor.                  Case No. 23-19938 (JKS)
 In re:

 WW 312 ARIZONA LLC,                         Chapter 11

                    Debtor.                  Case No. 23-19976 (JKS)
 In re:

 WW 350 LINCOLN LLC,                         Chapter 11

                    Debtor.                  Case No. 23-19985 (JKS)
 In re:

 WW 379 W BROADWAY LLC,                      Chapter 11

                    Debtor.                  Case No. 23-19993 (JKS)
 In re:

 WW 401 PARK AVENUE SOUTH LLC,               Chapter 11

                    Debtor.                  Case No. 23-20001 (JKS)
 In re:

 WW 5 W 125TH STREET LLC,                    Chapter 11

                    Debtor.                  Case No. 23-19930 (JKS)
 In re:

 WW 500 YALE LLC,                            Chapter 11

                    Debtor.                  Case No. 23-20008 (JKS)
 In re:

 WW 51 MELCHER LLC,                          Chapter 11

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 WW 520 BROADWAY LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20016 (JKS)
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 WW 535 MISSION LLC,                         Chapter 11

                    Debtor.                  Case No. 23-20021 (JKS)
 In re:

 WW 555 WEST 5TH STREET LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20028 (JKS)
 In re:

 WW 5782 JEFFERSON LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20086 (JKS)
 In re:

 WW 600 CONGRESS LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20034 (JKS)
 In re:

 WW 641 S STREET LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20039 (JKS)
 In re:

 WW 718 7TH STREET LLC,                      Chapter 11

                    Debtor.                  Case No. 23-20046 (JKS)
 In re:

 WW 745 ATLANTIC LLC,                        Chapter 11

                    Debtor.                  Case No. 23-20055 (JKS)
 In re:

 WW 79 MADISON LLC,                          Chapter 11

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                    Debtor.                  Case No. 23-19959 (JKS)
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 WW 811 WEST 7TH STREET LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20067 (JKS)
 In re:

 WW 85 BROAD LLC,                            Chapter 11

                    Debtor.                  Case No. 23-19968 (JKS)
 In re:

 WW 995 MARKET LLC,                          Chapter 11

                    Debtor.                  Case No. 23-20081 (JKS)
 In re:

 WW BROOKLYN NAVY YARD LLC,                  Chapter 11

                    Debtor.                  Case No. 23-20094 (JKS)
 In re:

 WW BUILDCO LLC,                             Chapter 11

                    Debtor.                  Case No. 23-20102 (JKS)
 In re:

 WW CO-OBLIGOR INC.,                         Chapter 11

                    Debtor.                  Case No. 23-20109 (JKS)
 In re:

 WW ENLIGHTENED HOSPITALITY                  Chapter 11
 INVESTOR LLC,
                                             Case No. 23-20115 (JKS)
                    Debtor.
 In re:

 WW HOLDCO LLC,                              Chapter 11

                    Debtor.                  Case No. 23-20338 (JKS)




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                    Debtor.                  Case No. 23-20124 (JKS)
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 WW JOURNAL SQUARE MEMBER LLC,               Chapter 11

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 In re:

 WW ONSITE SERVICES AAG LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20137 (JKS)
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 WW ONSITE SERVICES EXP LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20144 (JKS)
 In re:

 WW ONSITE SERVICES LLC,                     Chapter 11

                    Debtor.                  Case No. 23-20151 (JKS)
 In re:

 WW ONSITE SERVICES SFI LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20156 (JKS)
 In re:

 WW ONSITE SERVICES SUM LLC,                 Chapter 11

                    Debtor.                  Case No. 23-20166 (JKS)
 In re:

 WW PROJECT SWIFT DEVELOPMENT LLC,           Chapter 11

                    Debtor.                  Case No. 23-20175 (JKS)
 In re:

 WW PROJECT SWIFT MEMBER LLC,                Chapter 11

                    Debtor.                  Case No. 23-20278 (JKS)




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    In re:

    WW VENDORCO LLC,                                            Chapter 11

                             Debtor.                            Case No. 23-20184 (JKS)
    In re:

    WW WORLDWIDE C.V.,                                          Chapter 11

                             Debtor.                            Case No. 23-19868 (JKS)
    In re:

    WWCO ARCHITECTURE HOLDINGS LLC,                             Chapter 11

                             Debtor.                            Case No. 23-20191 (JKS)

                         DEBTORS’ MOTION FOR ENTRY OF AN
                    ORDER (I) DIRECTING JOINT ADMINISTRATION OF
                  CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             TO: THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (the “Motion”): 2

                                                  Relief Requested

             1.     The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”):             (a) authorizing, but not directing, the Debtors to procedurally

consolidate and jointly administer these chapter 11 cases; and (b) granting related relief. The

Debtors request that the Court (as defined herein) maintain one file and one docket for all of the

jointly administered cases under the case of WeWork Inc., Case No. 23-19865 (JKS).




2
       A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
       the Debtors’ chapter 11 cases, is set forth in the Declaration of David Tolley, Chief Executive Officer of WeWork
       Inc., in Support of the Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed
       contemporaneously herewith. Capitalized terms used but not defined in this Motion have the meaning ascribed
       to them in the First Day Declaration.



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                                         Jurisdiction and Venue

       2.      The United States Bankruptcy Court for the District of New Jersey (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference to the Bankruptcy Court Under Title 11, entered July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.). The Debtors confirm their consent to the Court’s entering

a final order in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The bases for the relief requested herein are sections 105(a) and 342(c)(1) of title 11

of the United States Code (the “Bankruptcy Code”), and rules 1015(b) and 2002 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                            Background

       5.      The Debtors, together with their non‑Debtor affiliates (collectively, “WeWork” or

the “Company”), are the global leader in flexible workspace, integrating community, member

services, and technology. Founded in 2010 and headquartered in New York City, WeWork’s

mission is to create a collaborative work environment where people and companies across a variety

of industries, from freelancers to Fortune 100 companies, come together to optimize performance.

WeWork is publicly traded on the New York Stock Exchange and employs over 2,650 full‑time

and fifty part-time workers in the United States and abroad. The Company operates over

750 locations in thirty-seven countries and is among the top commercial real estate lessors in

business hubs including New York City, London, Dublin, Boston, and Miami. For the fiscal year

2022, WeWork’s revenue was approximately $3.25 billion. The Debtors commenced these




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chapter 11 cases to rationalize their lease portfolio, right-size their balance sheet, and position

WeWork for sustainable, long-term growth.

       6.      On November 6, 2023 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their business and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in these

chapter 11 cases, and no official committees have been appointed or designated.

                                    Basis for Relief Requested

       7.      Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The 517 Debtor entities that

commenced these chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein.

       8.      Joint administration is generally non-controversial, and courts in this jurisdiction

routinely order joint administration in cases with multiple related debtors. See, e.g., In re Cyxtera

Techs., Inc., No. 23-14853 (JKS) (Bankr. D.N.J. June 6, 2023) (directing joint administration of

chapter 11 cases); In re Bed Bath & Beyond Inc., No 23-13359 (VFP) (Bankr. D.N.J. Apr. 24,

2023) (same); In re David’s Bridal, LLC, No. 23-13131 (CMG) (Bankr. D.N.J. Apr. 17, 2023)

(same); In re Block Fi Inc., No. 22-19361 (MBK) (Bankr. D.N.J. Nov. 29, 2022) (same); In re




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Nat’l Realty Inv. Advisors, LLC, No. 22-14539 (JKS) (Bankr. D.N.J. June 9, 2022) (same); In re

Alliant Tech., L.L.C., No. 21-19748 (JKS) (Bankr. D.N.J. Dec. 23, 2021) (same). 3

        9.       Given the integrated nature of the Debtors’ operations, joint administration of these

chapter 11 cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each Debtor entity. The entry of an order directing joint administration

of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings and objections.

Joint administration will also allow the Office of the United States Trustee for the District of New

Jersey (the “U.S. Trustee”) and all parties in interest to monitor these chapter 11 cases with greater

ease and efficiency.

        10.      Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies. This Motion seeks only administrative, not substantive, consolidation of the

Debtors’ estates. Parties in interest will not be harmed by the relief requested; rather, parties in

interest will benefit from (i) the cost reductions associated with the joint administration of these

chapter 11 cases and (ii) ease of reference to one main case docket of WeWork Inc. throughout

these chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these

chapter 11 cases is in the best interests of their estates, their creditors, and all other parties in

interest.

        11.      The Debtors request that all orders, pleadings, papers, and documents, except

proofs of claim, lists, schedules, and statements, shall be filed and docketed in the case number




3
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request to the Debtors’ proposed counsel.



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assigned to WeWork Inc. (the “Lead Case”), bearing the caption as shown in Exhibit 1 to the Order

attached hereto.

        12.      The Debtors also seek the Court’s direction that a notation be entered on the docket

in each of the Debtors’ chapter 11 cases to reflect the joint administration of these cases.

        13.      Based on the foregoing, the Debtors submit that the relief requested is necessary

and appropriate, is in the best interests of their estates and creditors and should be granted in all

respects.

                                 Waiver of Memorandum of Law

        14.      The Debtors respectfully request that the Court waive the requirement to file a

separate memorandum of law pursuant to rule 9013-1(a)(3) of the Local Bankruptcy Rules for the

District of New Jersey (the “Local Rules”) because the legal basis upon which the Debtors rely is

set forth herein and the Motion does not raise any novel issues of law.

                                         No Prior Request

        15.      No prior request for the relief sought in this Motion has been made to this or any

other court.

                                                  Notice

        16.      The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the U.S. Trustee for the District of New Jersey; (b) the holders of the

thirty largest   unsecured    claims    against     the    Debtors   (on   a   consolidated    basis);

(c) Davis Polk & Wardwell LLP and Greenberg Traurig, LLP, as counsel to the Ad Hoc Group;

(d) Weil, Gotshal & Manges LLP and Wollmuth Maher & Deutsch LLP, as counsel to SoftBank;

(e) Cooley LLP, as counsel to Cupar Grimmond, LLC; (f) the agents under each of the Debtors’

prepetition secured credit facilities and counsel thereto; (g) the office of the attorney general for

each of the states in which the Debtors operate; (h) the United States Attorney’s Office for the


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 District of New Jersey; (i) the Securities and Exchange Commission; (j) the Internal Revenue

 Service; and (k) any party that has requested notice pursuant to Bankruptcy Rule

 2002. The Debtors submit that, in light of the nature of the relief requested, no other or further

 notice need be given.

         WHEREFORE, the Debtors respectfully request that the Court enter an order, in

 substantially the forms submitted herewith, granting the relief requested herein and such other

 relief as is just and proper under the circumstances.

Dated: November 7, 2023
/s/ Michael D. Sirota
COLE SCHOTZ P.C.                                KIRKLAND & ELLIS LLP
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                                                ciara.foster@kirkland.com

Proposed Co-Counsel for Debtors and             Proposed Co-Counsel for Debtors and
Debtors in Possession                           Debtors in Possession




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                                   Exhibit A

                                Proposed Order
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
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    rjareck@coleschotz.com

    Proposed Co-Counsel for Debtors and
    Debtors in Possession


                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

    In re:

    WEWORK INC.                                                       Chapter 11

                             Debtor. 1                                Case No. 23-19865 (JKS)


1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
       principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
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 In re:

 1 BEACON STREET TENANT LLC,                                Chapter 11

                       Debtor.                              Case No. 23-19877 (JKS)
 In re:

 1 BELVEDERE DRIVE TENANT LLC,                              Chapter 11

                       Debtor.                              Case No. 23-19885 (JKS)
 In re:

 1 GLENWOOD AVE TENANT LLC,                                 Chapter 11

                       Debtor.                              Case No. 23-19893 (JKS)
 In re:

 1 LINCOLN STREET TENANT LLC,                               Chapter 11

                       Debtor.                              Case No. 23-19890 (JKS)
 In re:

 1 MILK STREET TENANT LLC,                                  Chapter 11

                       Debtor.                              Case No. 23-19903 (JKS)
 In re:

 1 POST STREET TENANT LLC,                                  Chapter 11

                       Debtor.                              Case No. 23-19920 (JKS)
 In re:

 1 SOUTH DEARBORN STREET TENANT LLC,                        Chapter 11

                       Debtor.                              Case No. 23-19934 (JKS)
 In re:

 1 UNION SQUARE WEST HQ LLC,                                Chapter 11

                       Debtor.                              Case No. 23-19955 (JKS)




    in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
    Beaverton, OR 97005.


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 In re:

 10 EAST 38TH STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-19969 (JKS)
 In re:

 10 EAST 40TH STREET HQ LLC,                    Chapter 11

                    Debtor.                     Case No. 23-19987 (JKS)
 In re:

 100 BAYVIEW CIRCLE TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20006 (JKS)
 In re:

 100 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20024 (JKS)
 In re:

 100 S STATE STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20050 (JKS)
 In re:

 100 SUMMER STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20063 (JKS)
 In re:

 10000 WASHINGTON BOULEVARD TENANT LLC,         Chapter 11

                    Debtor.                     Case No. 23-20080 (JKS)
 In re:

 1001 WOODWARD AVE TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20098 (JKS)
 In re:

 1003 EAST 4TH PLACE TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20123 (JKS)



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 In re:

 101 EAST WASHINGTON STREET TENANT LLC,         Chapter 11

                    Debtor.                     Case No. 23-20142 (JKS)
 In re:

 101 MARIETTA STREET NORTHWEST TENANT           Chapter 11
 LLC,
                                                Case No. 23-20160 (JKS)
                    Debtor.
 In re:

 101 NORTH 1ST AVENUE TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20176 (JKS)
 In re:

 10250 CONSTELLATION TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20193 (JKS)
 In re:

 1031 SOUTH BROADWAY TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20208 (JKS)
 In re:

 10585 SANTA MONICA BOULEVARD TENANT LLC,       Chapter 11

                    Debtor.                     Case No. 23-20220 (JKS)
 In re:

 10845 GRIFFITH PEAK DRIVE TENANT LLC,          Chapter 11

                    Debtor.                     Case No. 23-20235 (JKS)
 In re:

 10885 NE 4TH STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20251 (JKS)
 In re:

 109 S 5TH STREET TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20265 (JKS)


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 In re:

 1090 WEST PENDER STREET TENANT LP,             Chapter 11

                    Debtor.                     Case No. 23-19873 (JKS)
 In re:

 10900 STONELAKE BOULEVARD TENANT LLC,          Chapter 11

                    Debtor.                     Case No. 23-20282 (JKS)
 In re:

 1099 STEWART STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20296 (JKS)
 In re:

 11 PARK PL TENANT LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20313 (JKS)
 In re:

 110 110TH AVENUE NORTHEAST TENANT LLC,         Chapter 11

                    Debtor.                     Case No. 23-20336 (JKS)
 In re:

 110 CORCORAN STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20344 (JKS)
 In re:

 110 WALL MANAGER LLC,                          Chapter 11

                    Debtor.                     Case No. 23-20349 (JKS)
 In re:

 1100 15TH STREET NW TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20358 (JKS)
 In re:

 1100 LUDLOW STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20353 (JKS)



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 In re:

 1100 MAIN STREET TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20356 (JKS)
 In re:

 1111 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20032 (JKS)
 In re:

 1111 WEST 6TH STREET TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20044 (JKS)
 In re:

 1114 W FULTON MARKET Q LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20059 (JKS)
 In re:

 1115 BROADWAY Q LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20065 (JKS)
 In re:

 1115 HOWELL MILL ROAD TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20074 (JKS)
 In re:

 1115 W FULTON MARKET Q LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20085 (JKS)
 In re:

 115 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.                     Case No. 23-19894 (JKS)
 In re:

 115 EAST 23RD STREET TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-19906 (JKS)



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 In re:

 1150 SOUTH OLIVE STREET TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-20097 (JKS)
 In re:

 1155 PERIMETER CENTER WEST TENANT LLC,         Chapter 11

                    Debtor.                     Case No. 23-20116 (JKS)
 In re:

 1155 WEST FULTON STREET TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-20125 (JKS)
 In re:

 1156 6TH AVENUE TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20136 (JKS)
 In re:

 117 NE 1ST AVE TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-19916 (JKS)
 In re:

 1175 PEACHTREE TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20148 (JKS)
 In re:

 11801 DOMAIN BLVD TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20292 (JKS)
 In re:

 12 EAST 49TH STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-19876 (JKS)
 In re:

 12 SOUTH 1ST STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-19882 (JKS)



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 In re:

 120 WEST TRINITY PLACE TENANT LLC,             Chapter 11

                    Debtor.                     Case No. 23-19933 (JKS)
 In re:

 1200 17TH STREET TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20157 (JKS)
 In re:

 1200 FRANKLIN AVENUE TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20171 (JKS)
 In re:

 1201 3RD AVENUE TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20183 (JKS)
 In re:

 1201 WILLS STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20196 (JKS)
 In re:

 1201 WILSON BLVD TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20202 (JKS)
 In re:

 12130 MILLENNIUM DRIVE TENANT LLC,             Chapter 11

                    Debtor.                     Case No. 23-20305 (JKS)
 In re:

 1240 ROSECRANS TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20212 (JKS)
 In re:

 125 S CLARK STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19942 (JKS)



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 In re:

 125 WEST 25TH STREET TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-19952 (JKS)
 In re:

 12655 JEFFERSON BLVD TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20312 (JKS)
 In re:

 128 SOUTH TRYON STREET TENANT LLC,             Chapter 11

                    Debtor.                     Case No. 23-19967 (JKS)
 In re:

 130 5TH AVENUE TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-19973 (JKS)
 In re:

 130 MADISON AVENUE TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19981 (JKS)
 In re:

 130 W 42ND STREET TENANT LLC,                  Chapter 11

                    Debtor..                    Case No. 23-19991 (JKS)
 In re:

 1305 2ND STREET Q LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20219 (JKS)
 In re:

 1330 LAGOON AVENUE TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20227 (JKS)
 In re:

 1333 NEW HAMPSHIRE AVENUE NORTHWEST            Chapter 11
 TENANT LLC,
                                                Case No. 23-20239 (JKS)
                    Debtor.


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 In re:

 135 E 57TH STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-19999 (JKS)
 In re:

 135 MADISON AVE TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20010 (JKS)
 In re:

 1372 PEACHTREE STREET NE TENANT LLC,           Chapter 11

                    Debtor.                     Case No. 23-20248 (JKS)
 In re:

 1389 PEACHTREE STREET NORTHWEST TENANT         Chapter 11
 LLC,
                                                Case No. 23-20257 (JKS)
                    Debtor.
 In re:

 1400 LAVACA STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20268 (JKS)
 In re:

 1410 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20277 (JKS)
 In re:

 1411 4TH AVENUE TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20287 (JKS)
 In re:

 142 W 57TH STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20019 (JKS)
 In re:

 1430 WALNUT STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19880 (JKS)


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 In re:

 1440 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-19891 (JKS)
 In re:

 1448 NW MARKET STREET TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-19900 (JKS)
 In re:

 1449 WOODWARD AVENUE TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-19912 (JKS)
 In re:

 145 W 45TH STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-19925 (JKS)
 In re:

 1450 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-19937 (JKS)
 In re:

 1453 3RD STREET PROMENADE Q LLC,               Chapter 11

                    Debtor.                     Case No. 23-19948 (JKS)
 In re:

 1455 MARKET STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19964 (JKS)
 In re:

 1460 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-19974 (JKS)
 In re:

 148 LAFAYETTE STREET TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-19986 (JKS)



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 In re:

 149 5TH AVENUE TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-19997 (JKS)
 In re:

 149 MADISON AVENUE TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20013 (JKS)
 In re:

 15 WEST 27TH STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20022 (JKS)
 In re:

 150 4TH AVE N TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20037 (JKS)
 In re:

 152 3RD STREET TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20047 (JKS)
 In re:

 1525 11TH AVE TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20061 (JKS)
 In re:

 1535 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20096 (JKS)
 In re:

 154 W 14TH STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20107 (JKS)
 In re:

 1547 9TH STREET HQ LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20117 (JKS)



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 In re:

 1557 WEST INNOVATION WAY TENANT LLC,           Chapter 11

                    Debtor.                     Case No. 23-20133 (JKS)
 In re:

 1560 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20077 (JKS)
 In re:

 16 EAST 34TH STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20146 (JKS)
 In re:

 160 VARICK STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20159 (JKS)
 In re:

 160 W SANTA CLARA ST TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20168 (JKS)
 In re:

 1600 7TH AVENUE TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20182 (JKS)
 In re:

 1601 ELM STREET TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20195 (JKS)
 In re:

 1601 MARKET STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20203 (JKS)
 In re:

 1601 VINE STREET TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20213 (JKS)



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 In re:

 161 AVENUE OF THE AMERICAS TENANT LLC,         Chapter 11

                    Debtor.                     Case No. 23-20222 (JKS)
 In re:

 1615 PLATTE STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20231 (JKS)
 In re:

 1619 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20243 (JKS)
 In re:

 166 GEARY STREET HQ LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20253 (JKS)
 In re:

 1660 LINCOLN STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20263 (JKS)
 In re:

 167 N GREEN STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20274 (JKS)
 In re:

 1700 LINCOLN STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20286 (JKS)
 In re:

 1701 RHODE ISLAND AVENUE NORTHWEST             Chapter 11
 TENANT LLC,
                                                Case No. 23-20298 (JKS)
                    Debtor.
 In re:

 1725 HUGHES LANDING BOULEVARD TENANT           Chapter 11
 LLC,
                                                Case No. 23-20309 (JKS)
                    Debtor.

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 1730 MINOR AVENUE TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20316 (JKS)
 In re:

 17300 LAGUNA CANYON ROAD TENANT LLC,           Chapter 11

                    Debtor.                     Case No. 23-20323 (JKS)
 In re:

 177 E COLORADO BLVD TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20329 (JKS)
 In re:

 1775 TYSONS BOULEVARD TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20334 (JKS)
 In re:

 18 WEST 18TH STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20339 (JKS)
 In re:

 180 GEARY STREET HQ LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20343 (JKS)
 In re:

 180 SANSOME STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19881 (JKS)
 In re:

 1814 FRANKLIN ST Q LLC,                        Chapter 11

                    Debtor.                     Case No. 23-19910 (JKS)
 In re:

 18191 VON KARMAN AVENUE TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-19932 (JKS)



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 In re:

 1825 SOUTH GRANT STREET TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-19957 (JKS)
 In re:

 1828 WALNUT ST TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-19982 (JKS)
 In re:

 183 MADISON AVENUE Q LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20005 (JKS)
 In re:

 1840 GATEWAY DR TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20030 (JKS)
 In re:

 185 MADISON AVENUE TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20053 (JKS)
 In re:

 18691 JAMBOREE ROAD TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20071 (JKS)
 In re:

 1875 K STREET NW TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20089 (JKS)
 In re:

 1881 BROADWAY HQ LLC,                          Chapter 11

                    Debtor.                     Case No. 23-20110 (JKS)
 In re:

 1900 MARKET STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20135 (JKS)



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 1900 POWELL STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20164 (JKS)
 In re:

 1910 NORTH OLA AVENUE TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20185 (JKS)
 In re:

 1920 MCKINNEY AVE TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20205 (JKS)
 In re:

 195 MONTAGUE STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-23-20223 (JKS)
 In re:

 199 WATER STREET TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20238 (JKS)
 In re:

 2 BELVEDERE DRIVE TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20258 (JKS)
 In re:

 2 EMBARCADERO CENTER TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20279 (JKS)
 In re:

 2 NORTH LASALLE STREET TENANT LLC,             Chapter 11

                    Debtor.                     Case No. 23-20300 (JKS)
 In re:

 20 W KINZIE TENANT LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20321 (JKS)



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 200 BERKELEY STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20340 (JKS)
 In re:

 200 MASSACHUSETTS AVE NW TENANT LLC,           Chapter 11

                    Debtor.
                                                Case No. 23-20351 (JKS)
 In re:

 200 PORTLAND TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20359 (JKS)
 In re:

 200 SOUTH BISCAYNE BLVD TENANT LLC,            Chapter 11

                    Debtor.
                                                Case No. 23-20364 (JKS)
 In re:

 200 SOUTH ORANGE AVENUE TENANT LLC,            Chapter 11

                    Debtor.
                                                Case No. 23-20365 (JKS)
 In re:

 200 SPECTRUM CENTER DRIVE TENANT LLC,          Chapter 11

                    Debtor.
                                                Case No. 23-20366 (JKS)
 In re:

 201 SPEAR ST TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20367 (JKS)
 In re:

 2031 3RD AVE TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20368 (JKS)




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 205 HUDSON STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20369 (JKS)
 In re:

 205 NORTH DETROIT STREET TENANT LLC,           Chapter 11

                    Debtor.
                                                Case No. 23-20370 (JKS)
 In re:

 21 PENN PLAZA TENANT LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20371 (JKS)
 In re:

 210 N GREEN PARTNERS LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20372 (JKS)
 In re:

 210 N GREEN PROMOTER LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20373 (JKS)
 In re:

 2120 BERKELEY WAY TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20374 (JKS)
 In re:

 21255 BURBANK BOULEVARD TENANT LLC,            Chapter 11

                    Debtor.
                                                Case No. 23-20375 (JKS)
 In re:

 214 WEST 29TH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-20376 (JKS)




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 22 CORTLANDT STREET HQ LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-20377 (JKS)
 In re:

 2201 BROADWAY TENANT LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20378 (JKS)
 In re:

 221 6TH STREET TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-20379 (JKS)
 In re:

 2211 MICHELSON DRIVE TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-20380 (JKS)
 In re:

 222 KEARNY STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20381 (JKS)
 In re:

 222 NORTH SEPULVEDA TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20382 (JKS)
 In re:

 222 S RIVERSIDE PLAZA TENANT LLC,              Chapter 11

                    Debtor.
                                                Case No. 23-19875 (JKS)
 In re:

 2221 PARK PLACE TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19883 (JKS)




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 2222 PONCE DE LEON BLVD TENANT LLC,            Chapter 11

                    Debtor.
                                                Case No. 23-19889 (JKS)
 In re:

 225 SOUTH 6TH ST TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-19897 (JKS)
 In re:

 225 W 39TH STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-19904 (JKS)
 In re:

 229 WEST 36TH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-19911 (JKS)
 In re:

 231 11TH AVE TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-19915 (JKS)
 In re:

 2323 DELGANY STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-19924 (JKS)
 In re:

 24 FARNSWORTH STREET Q LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19931 (JKS)
 In re:

 2-4 HERALD SQUARE TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-19935 (JKS)




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 2401 ELLIOTT AVENUE TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-19943 (JKS)
 In re:

 2420 17TH STREET TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-19951 (JKS)
 In re:

 2425 EAST CAMELBACK ROAD TENANT LLC,           Chapter 11

                    Debtor.
                                                Case No. 23-19956 (JKS)
 In re:

 245 LIVINGSTON ST Q LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-19966 (JKS)
 In re:

 25 WEST 45TH STREET HQ LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19970 (JKS)
 In re:

 250 E 200 S TENANT LLC,                        Chapter 11

                    Debtor.
                                                Case No. 23-19979 (JKS)
 In re:

 250 PARK AVENUE TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19989 (JKS)
 In re:

 255 GIRALDA AVENUE TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-19995 (JKS)




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 In re:

 255 GREENWICH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-20004 (JKS)
 In re:

 255 S KING ST TENANT LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20009 (JKS)
 In re:

 2600 EXECUTIVE PARKWAY TENANT LLC,             Chapter 11

                    Debtor.
                                                Case No. 23-20020 (JKS)
 In re:

 2700 POST OAK BLVD. TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20029 (JKS)
 In re:

 27-01 QUEENS PLAZA NORTH TENANT LLC,           Chapter 11

                    Debtor.
                                                Case No. 23-20035 (JKS)
 In re:

 2755 CANYON BLVD WW TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20048 (JKS)
 In re:

 28 2ND STREET TENANT LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20057 (JKS)
 In re:

 28 WEST 44TH STREET HQ LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-20069 (JKS)




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 29 WEST 30TH STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20079 (JKS)
 In re:

 30 HUDSON STREET TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-19864 (JKS)
 In re:

 30 WALL STREET TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-20087 (JKS)
 In re:

 300 MORRIS STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20095 (JKS)
 In re:

 300 PARK AVENUE TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-20101 (JKS)
 In re:

 3000 OLYM BOULEVARD TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20108 (JKS)
 In re:

 3000 S ROBERTSON BLVD Q LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20113 (JKS)
 In re:

 3001 BISHOP DRIVE TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20122 (JKS)




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 3003 WOODBRIDGE AVE TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20126 (JKS)
 In re:

 3090 OLIVE STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20134 (JKS)
 In re:

 31 ST JAMES AVE TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-20143 (JKS)
 In re:

 3101 PARK BOULEVARD TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20149 (JKS)
 In re:

 311 W 43RD STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20154 (JKS)
 In re:

 3120 139TH AVENUE SOUTHEAST TENANT LLC,        Chapter 11

                    Debtor.
                                                Case No. 23-20170 (JKS)
 In re:

 315 EAST HOUSTON TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20180 (JKS)
 In re:

 315 W 36TH STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20188 (JKS)




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 316 WEST 12TH STREET TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-20197 (JKS)
 In re:

 3200 PARK CENTER DRIVE TENANT LLC,             Chapter 11

                    Debtor.
                                                Case No. 23-20204 (JKS)
 In re:

 3219 KNOX STREET TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20211 (JKS)
 In re:

 3280 PEACHTREE ROAD NE TENANT LLC,             Chapter 11

                    Debtor.
                                                Case No. 23-20217 (JKS)
 In re:

 33 ARCH STREET TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-19886 (JKS)
 In re:

 33 EAST 33RD STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-19896 (JKS)
 In re:

 33 IRVING TENANT LLC,                          Chapter 11

                    Debtor.
                                                Case No. 23-19908 (JKS)
 In re:

 330 NORTH WABASH TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-19953 (JKS)




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 3300 N. INTERSTATE 35 TENANT LLC,              Chapter 11

                    Debtor.
                                                Case No. 23-20224 (JKS)
 In re:

 332 S MICHIGAN TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-19965 (JKS)
 In re:

 333 WEST SAN CARLOS TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-19971 (JKS)
 In re:

 3365 PIEDMONT ROAD TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20233 (JKS)
 In re:

 340 BRYANT STREET HQ LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-19980 (JKS)
 In re:

 345 4TH STREET TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-19992 (JKS)
 In re:

 345 WEST 100 SOUTH TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20003 (JKS)
 In re:

 35 EAST 21ST STREET HQ LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19918 (JKS)




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 353 SACRAMENTO STREET TENANT LLC,              Chapter 11

                    Debtor.
                                                Case No. 23-20011 (JKS)
 In re:

 35-37 36TH STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-19927 (JKS)
 In re:

 360 NW 27TH STREET TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20025 (JKS)
 In re:

 3600 BRIGHTON BOULEVARD TENANT LLC,            Chapter 11

                    Debtor.
                                                Case No. 23-20245 (JKS)
 In re:

 38 WEST 21ST STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-19936 (JKS)
 In re:

 385 5TH AVENUE Q LLC,                          Chapter 11

                    Debtor.
                                                Case No. 23-20033 (JKS)
 In re:

 3900 W ALAMEDA AVE TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20250 (JKS)
 In re:

 391 SAN ANTONIO ROAD TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-20043 (JKS)




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 40 WATER STREET TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19945 (JKS)
 In re:

 400 CALIFORNIA STREET TENANT LLC,              Chapter 11

                    Debtor.
                                                Case No. 23-20051 (JKS)
 In re:

 400 CAPITOL MALL TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20058 (JKS)
 In re:

 400 CONCAR DRIVE TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20064 (JKS)
 In re:

 400 LINCOLN SQUARE TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20075 (JKS)
 In re:

 400 SPECTRUM CENTER DRIVE TENANT LLC,          Chapter 11

                    Debtor.
                                                Case No. 23-20084 (JKS)
 In re:

 4005 MIRANDA AVE TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20261 (JKS)
 In re:

 401 SAN ANTONIO ROAD TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-20092 (JKS)




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 404 FIFTH AVENUE TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20104 (JKS)
 In re:

 4041 MACARTHUR BOULEVARD TENANT LLC,           Chapter 11

                    Debtor.
                                                Case No. 23-20270 (JKS)
 In re:

 405 MATEO STREET TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20112 (JKS)
 In re:

 408 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20121 (JKS)
 In re:

 410 NORTH SCOTTSDALE ROAD TENANT LLC,          Chapter 11

                    Debtor.
                                                Case No. 23-20131 (JKS)
 In re:

 414 WEST 14TH STREET HQ LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20140 (JKS)
 In re:

 415 MISSION STREET TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20152 (JKS)
 In re:

 419 PARK AVENUE SOUTH TENANT LLC,              Chapter 11

                    Debtor.
                                                Case No. 23-20163 (JKS)




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 420 5TH AVENUE Q LLC,                          Chapter 11

                    Debtor.
                                                Case No. 23-20169 (JKS)
 In re:

 420 COMMERCE STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20181 (JKS)
 In re:

 424-438 FIFTH AVENUE TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-20190 (JKS)
 In re:

 428 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20201 (JKS)
 In re:

 429 LENOX AVE TENANT LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20042 (JKS)
 In re:

 430 PARK AVENUE TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-20056 (JKS)
 In re:

 4311 11TH AVENUE NORTHEAST TENANT LLC,         Chapter 11

                    Debtor.
                                                Case No. 23-20362 (JKS)
 In re:

 433 HAMILTON AVENUE TENANT LLC,                Chapter 11

                    Debtor.
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 437 5TH AVENUE Q LLC,                          Chapter 11

                    Debtor.
                                                Case No. 23-20083 (JKS)
 In re:

 437 MADISON AVENUE TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20099 (JKS)
 In re:

 44 EAST 30TH STREET HQ LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19888 (JKS)
 In re:

 44 MONTGOMERY STREET TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-19901 (JKS)
 In re:

 44 WALL STREET HQ LLC,                         Chapter 11

                    Debtor.
                                                Case No. 23-19921 (JKS)
 In re:

 448 NORTH LASALLE STREET TENANT LLC,           Chapter 11

                    Debtor.
                                                Case No. 23-20114 (JKS)
 In re:

 45 WEST 18TH STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-19944 (JKS)
 In re:

 450 LEXINGTON TENANT LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20128 (JKS)




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 In re:

 460 PARK AVE SOUTH TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20145 (JKS)
 In re:

 460 WEST 50 NORTH TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20162 (JKS)
 In re:

 4635 LOUGHEED HIGHWAY TENANT LP,               Chapter 11

                    Debtor.
                                                Case No. 23-19872 (JKS)
 In re:

 475 SANSOME ST TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-20177 (JKS)
 In re:

 483 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20194 (JKS)
 In re:

 49 WEST 27TH STREET HQ LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-19958 (JKS)
 In re:

 490 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20206 (JKS)
 In re:

 50 W 28TH STREET TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-19975 (JKS)




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 500 11TH AVE NORTH TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20230 (JKS)
 In re:

 500 7TH AVENUE TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-20215 (JKS)
 In re:

 501 BOYLSTON STREET TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-20241 (JKS)
 In re:

 501 EAST KENNEDY BOULEVARD TENANT LLC,         Chapter 11

                    Debtor.
                                                Case No. 23-20254 (JKS)
 In re:

 501 EAST LAS OLAS BLVD TENANT LLC,             Chapter 11

                    Debtor.
                                                Case No. 23-20269 (JKS)
 In re:

 501 EASTLAKE TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20284 (JKS)
 In re:

 5049 EDWARDS RANCH TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20354 (JKS)
 In re:

 505 MAIN STREET TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-20295 (JKS)




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 In re:

 505 PARK AVENUE Q LLC,                         Chapter 11

                    Debtor.
                                                Case No. 23-20306 (JKS)
 In re:

 50-60 FRANCISCO STREET TENANT LLC,             Chapter 11

                    Debtor.
                                                Case No. 23-19996 (JKS)
 In re:

 511 W 25TH STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20317 (JKS)
 In re:

 515 FOLSOM STREET TENANT LLC,                  Chapter 11

                    Debtor.
                                                Case No. 23-20326 (JKS)
 In re:

 515 N STATE STREET TENANT LLC,                 Chapter 11

                    Debtor.
                                                Case No. 23-20331 (JKS)
 In re:

 5161 LANKERSHIM BOULEVARD TENANT LLC,          Chapter 11

                    Debtor.
                                                Case No. 23-20360 (JKS)
 In re:

 5215 NORTH O’CONNOR BOULEVARD TENANT           Chapter 11
 LLC,
                                                Case No. 23-20355 (JKS)
                    Debtor.
 In re:

 524 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20337 (JKS)




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 525 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-20348 (JKS)
 In re:

 53 BEACH STREET TENANT LLC,                    Chapter 11

                    Debtor.
                                                Case No. 23-20014 (JKS)
 In re:

 540 BROADWAY Q LLC,                            Chapter 11

                    Debtor.
                                                Case No. 23-20352 (JKS)
 In re:

 545 BOYLSTON STREET Q LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-20357 (JKS)
 In re:

 546 5TH AVENUE TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-20361 (JKS)
 In re:

 550 7TH AVENUE HQ LLC,                         Chapter 11

                    Debtor.
                                                Case No. 23-20363 (JKS)
 In re:

 550 KEARNY STREET HQ LLC,                      Chapter 11

                    Debtor.
                                                Case No. 23-20350 (JKS)
 In re:

 57 E 11TH STREET TENANT LLC,                   Chapter 11

                    Debtor.
                                                Case No. 23-20027 (JKS)




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 575 5TH AVENUE TENANT LLC,                     Chapter 11

                    Debtor.
                                                Case No. 23-23-19879 (JKS)
 In re:

 575 LEXINGTON AVENUE TENANT LLC,               Chapter 11

                    Debtor.
                                                Case No. 23-19892 (JKS)
 In re:

 5750 WILSHIRE BOULEVARD TENANT LLC,            Chapter 11

                    Debtor.
                                                Case No. 23-19902 (JKS)
 In re:

 5960 BERKSHIRE LANE TENANT LLC,                Chapter 11

                    Debtor.
                                                Case No. 23-19913 (JKS)
 In re:

 599 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.
                                                Case No. 23-19926 (JKS)
 In re:

 6 EAST 32ND STREET WW Q LLC,                   Chapter 11

                    Debtor.                     Case No. 23-19949 (JKS)
 In re:

 600 B STREET TENANT LLC,                       Chapter 11

                    Debtor.                     Case No. 23-19961 (JKS)
 In re:

 600 CALIFORNIA STREET TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-19977 (JKS)
 In re:

 600 H APOLLO TENANT LLC,                       Chapter 11

                    Debtor.                     Case No. 23-19988 (JKS)


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 In re:

 6001 CASS AVENUE TENANT LLC,                     Chapter 11

                      Debtor.                     Case No. 23-19998 (JKS)
 In re:

 601 SOUTH FIGUEROA STREET TENANT LLC,            Chapter 11

                      Debtor.                     Case No. 23-20012 (JKS)
 In re:

 606 BROADWAY TENANT LLC,                         Chapter 11

                      Debtor.                     Case No. 23-20023 (JKS)
 In re:

 609 5TH AVENUE TENANT LLC,                       Chapter 11

                      Debtor.                     Case No. 23-20038 (JKS)
 In re:

 609 GREENWICH STREET TENANT LLC,                 Chapter 11

                      Debtor.                     Case No. 23-20049 (JKS)
 In re:

 609 MAIN STREET TENANT LLC,                      Chapter 11

                      Debtor.                     Case No. 23-20060 (JKS)
 In re:

 611 NORTH BRAND BOULEVARD TENANT LLC,            Chapter 11

                      Debtor.                     Case No. 23-20070 (JKS)
 In re:

 615 S. TENANT LLC,                               Chapter 11

                      Debtor.                     Case No. 23-20082 (JKS)
 In re:

 625 MASSACHUSETTS TENANT LLC,                    Chapter 11

                      Debtor.                     Case No. 23-20093 (JKS)



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 In re:

 625 WEST ADAMS STREET TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20105 (JKS)
 In re:

 63 MADISON AVENUE TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20119 (JKS)
 In re:

 65 EAST STATE STREET TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20132 (JKS)
 In re:

 650 CALIFORNIA STREET TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20147 (JKS)
 In re:

 6543 SOUTH LAS VEGAS BOULEVARD TENANT          Chapter 11
 LLC,
                                                Case No. 23-20161 (JKS)
                    Debtor.
 In re:

 655 15TH STREET NW TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20173 (JKS)
 In re:

 655 MONTGOMERY ST TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20187 (JKS)
 In re:

 655 NEW YORK AVENUE NORTHWEST TENANT           Chapter 11
 LLC,
                                                Case No. 23-20199 (JKS)
                    Debtor.
 In re:

 660 J STREET TENANT LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20209 (JKS)


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 660 NORTH CAPITOL ST NW TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-20225 (JKS)
 In re:

 6655 TOWN SQUARE TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20242 (JKS)
 In re:

 67 IRVING PLACE TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20256 (JKS)
 In re:

 6900 NORTH DALLAS PARKWAY TENANT LLC,          Chapter 11

                    Debtor.                     Case No. 23-20271 (JKS)
 In re:

 695 TOWN CENTER DRIVE TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20285 (JKS)
 In re:

 7 WEST 18TH STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20297 (JKS)
 In re:

 700 2 STREET SOUTHWEST TENANT LP,              Chapter 11

                    Debtor.                     Case No. 23-19871 (JKS)
 In re:

 700 K STREET NW TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20327 (JKS)
 In re:

 700 NORTH MIAMI TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20335 (JKS)



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 In re:

 700 SW 5TH TENANT LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20341 (JKS)
 In re:

 708 MAIN ST TENANT LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20345 (JKS)
 In re:

 71 5TH AVENUE TENANT LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20311 (JKS)
 In re:

 71 STEVENSON STREET Q LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20319 (JKS)
 In re:

 711 ATLANTIC AVENUE TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20347 (JKS)
 In re:

 725 PONCE DE LEON AVE NE TENANT LLC,           Chapter 11

                    Debtor.                     Case No. 23-20228 (JKS)
 In re:

 7272 WISCONSIN AVENUE TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20240 (JKS)
 In re:

 729 WASHINGTON AVE TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20232 (JKS)
 In re:

 7300 DALLAS PARKWAY TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-19884 (JKS)



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 In re:

 731 SANSOME STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19898 (JKS)
 In re:

 75 ARLINGTON STREET TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-19909 (JKS)
 In re:

 75 E SANTA CLARA STREET TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-19919 (JKS)
 In re:

 75 ROCK PLZ TENANT LLC,                        Chapter 11

                    Debtor.                     Case No. 23-19929 (JKS)
 In re:

 750 LEXINGTON AVENUE TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-19940 (JKS)
 In re:

 750 WHITE PLAINS ROAD TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-19947 (JKS)
 In re:

 755 SANSOME STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19962 (JKS)
 In re:

 756 W PEACHTREE TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-19978 (JKS)
 In re:

 77 SANDS TENANT LLC,                           Chapter 11

                    Debtor.                     Case No. 23-19990 (JKS)



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 In re:

 77 SANDS WW CORPORATE TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20000 (JKS)
 In re:

 77 SLEEPER STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20015 (JKS)
 In re:

 7761 GREENHOUSE RD TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20026 (JKS)
 In re:

 777 6TH STREET NW TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20041 (JKS)
 In re:

 78 SW 7TH STREET TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20054 (JKS)
 In re:

 8 W 40TH STREET TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20062 (JKS)
 In re:

 80 M STREET SE TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20072 (JKS)
 In re:

 800 BELLEVUE WAY TENANT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20078 (JKS)
 In re:

 800 MARKET STREET TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20088 (JKS)



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 In re:

 800 NORTH HIGH STREET TENANT LLC,              Chapter 11

                    Debtor.                     Case No. 23-20100 (JKS)
 In re:

 801 B. SPRINGS ROAD TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20111 (JKS)
 In re:

 808 WILSHIRE BOULEVARD TENANT LLC,             Chapter 11

                    Debtor.                     Case No. 23-20120 (JKS)
 In re:

 820 18TH AVE SOUTH TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20127 (JKS)
 In re:

 821 17TH STREET TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20139 (JKS)
 In re:

 83 MAIDEN LANE Q LLC,                          Chapter 11

                    Debtor.                     Case No. 23-20150 (JKS)
 In re:

 830 BRICKELL PLAZA TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20158 (JKS)
 In re:

 830 NE HOLLADAY STREET TENANT LLC,             Chapter 11

                    Debtor.                     Case No. 23-20167 (JKS)
 In re:

 8305 SUNSET BOULEVARD HQ LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20179 (JKS)



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 8687 MELROSE AVENUE TENANT LLC,                Chapter 11

                    Debtor.                     Case No. 23-20192 (JKS)
 In re:

 8687 MELROSE GREEN TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20200 (JKS)
 In re:

 88 U PLACE TENANT LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20207 (JKS)
 In re:

 880 3RD AVE TENANT LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20214 (JKS)
 In re:

 881 PEACHTREE STREET NORTHEAST TENANT          Chapter 11
 LLC,
                                                Case No. 23-20221 (JKS)
                    Debtor.
 In re:

 8910 UNIVERSITY CENTER LANE TENANT LLC,        Chapter 11

                    Debtor.                     Case No. 23-20226 (JKS)
 In re:

 90 SOUTH 400 WEST TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20234 (JKS)
 In re:

 901 NORTH GLEBE ROAD TENANT LLC,               Chapter 11

                    Debtor.                     Case No. 23-20244 (JKS)
 In re:

 901 WOODLAND ST TENANT LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20252 (JKS)


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 902 BROADWAY TENANT LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20264 (JKS)
 In re:

 920 5TH AVE TENANT LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20273 (JKS)
 In re:

 920 SW 6TH AVENUE TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20283 (JKS)
 In re:

 9200 TIMPANOGOS HIGHWAY TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-20291 (JKS)
 In re:

 925 4TH AVENUE TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20299 (JKS)
 In re:

 925 N LA BREA AVE TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20304 (JKS)
 In re:

 9670416 CANADA INC.,                           Chapter 11

                    Debtor.                     Case No. 23-19870 (JKS)
 In re:

 9777 WILSHIRE BOULEVARD Q LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19907 (JKS)
 In re:

 980 6TH AVENUE TENANT LLC,                     Chapter 11

                    Debtor.                     Case No. 23-19895 (JKS)



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 In re:

 9830 WILSHIRE BOULEVARD TENANT LLC,             Chapter 11

                     Debtor.                     Case No. 23-19917 (JKS)
 In re:

 99 CHAUNCY STREET Q LLC,                        Chapter 11

                     Debtor.                     Case No. 23-19878 (JKS)
 In re:

 99 HIGH STREET TENANT LLC,                      Chapter 11

                     Debtor.                     Case No. 23-19887 (JKS)
 In re:

 BIRD INVESTCO LLC,                              Chapter 11

                     Debtor.                     Case No. 23-19928 (JKS)
 In re:

 CD LOCATIONS, LLC,                              Chapter 11

                     Debtor.                     Case No. 23-19939 (JKS)
 In re:

 CITIES BY WE LLC,                               Chapter 11

                     Debtor.                     Case No. 23-19950 (JKS)
 In re:

 CLUBHOUSE TS LLC,                               Chapter 11

                     Debtor.                     Case No. 23-19963 (JKS)
 In re:

 COMMON COFFEE, LLC,                             Chapter 11

                     Debtor.                     Case No. 23-19972 (JKS)
 In re:

 COMMON DESK DAYMAKER LLC,                       Chapter 11

                     Debtor.                     Case No. 23-19983 (JKS)



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 COMMON DESK DE, LLC,                           Chapter 11

                    Debtor.                     Case No. 23-19994 (JKS)
 In re:

 COMMON DESK HOLDINGS LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20007 (JKS)
 In re:

 COMMON DESK OC, LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20018 (JKS)
 In re:

 COMMON DESK OPERATIONS LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20031 (JKS)
 In re:

 COMMON DESK WEST 7TH, LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20040 (JKS)
 In re:

 CREATOR FUND MANAGING MEMBER LLC,              Chapter 11

                    Debtor.                     Case No. 23-20052 (JKS)
 In re:

 EUCLID LLC,                                    Chapter 11

                    Debtor.                     Case No. 23-19899 (JKS)
 In re:

 EUCLID WW HOLDINGS INC.,                       Chapter 11

                    Debtor.                     Case No. 23-20090 (JKS)
 In re:

 FIELDLENS LLC,                                 Chapter 11

                    Debtor.                     Case No. 23-20073 (JKS)



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 FIVE HUNDRED FIFTH AVENUE HQ LLC,              Chapter 11

                    Debtor.                     Case No. 23-20103 (JKS)
 In re:

 INSURANCE SERVICES BY WEWORK LLC,              Chapter 11

                    Debtor.                     Case No. 23-19922 (JKS)
 In re:

 LEGACY TENANT LLC,                             Chapter 11

                    Debtor.                     Case No. 23-20129 (JKS)
 In re:

 MAILROOM BAR AT 110 WALL LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20141 (JKS)
 In re:

 MISSIONU PBC,                                  Chapter 11

                    Debtor.                     Case No. 23-20153 (JKS)
 In re:

 ONE GOTHAM CENTER TENANT LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20165 (JKS)
 In re:

 ONE METROPOLITAN SQUARE TENANT LLC,            Chapter 11

                    Debtor.                     Case No. 23-20174 (JKS)
 In re:

 PARKMERCED PARTNER LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20186 (JKS)
 In re:

 PLAY BY WEWORK LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20198 (JKS)



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 POWERED BY WE LLC,                             Chapter 11

                    Debtor.                     Case No. 23-20210 (JKS)
 In re:

 PROJECT CAESAR LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20218 (JKS)
 In re:

 PROJECT STANDBY I LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20229 (JKS)
 In re:

 PROLIFIC INTERACTIVE LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20237 (JKS)
 In re:

 PXWE FACILITY & ASSET MANAGEMENT               Chapter 11
 SERVICES LLC,
                                                Case No. 23-20246 (JKS)
                    Debtor.
 In re:

 SOUTH TRYON STREET TENANT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-20259 (JKS)
 In re:

 SPACIOUS TECHNOLOGIES, LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20266 (JKS)
 In re:

 THE HUB TENANT LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20276 (JKS)
 In re:

 THE WE COMPANY MANAGEMENT HOLDINGS             Chapter 11
 L.P.,
                                                Case No. 23-20342 (JKS)
                    Debtor.

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 THE WE COMPANY MANAGEMENT LLC,                 Chapter 11

                    Debtor.                     Case No. 23-19905 (JKS)
 In re:

 THE WE COMPANY MC LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20346 (JKS)
 In re:

 THE WE COMPANY PI L.P.,                        Chapter 11

                    Debtor.                     Case No. 23-19914 (JKS)
 In re:

 WALTZ MERGER SUB LLC,                          Chapter 11

                    Debtor.                     Case No. 23-20288 (JKS)
 In re:

 WE RISE SHELL LLC,                             Chapter 11

                    Debtor.                     Case No. 23-20294 (JKS)
 In re:

 WE WORK 154 GRAND LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20303 (JKS)
 In re:

 WE WORK 349 5TH AVE LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20310 (JKS)
 In re:

 WE WORK MANAGEMENT LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20318 (JKS)
 In re:

 WE WORK RETAIL LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20324 (JKS)



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 WEINSURE HOLDCO LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20330 (JKS)
 In re:

 WELKIO LLC,                                    Chapter 11

                    Debtor.                     Case No. 23-19941 (JKS)
 In re:

 WEWORK 156 2ND LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20002 (JKS)
 In re:

 WEWORK 175 VARICK LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20017 (JKS)
 In re:

 WEWORK 25 TAYLOR LLC,                          Chapter 11

                    Debtor.                     Case No. 23-19960 (JKS)
 In re:

 WEWORK 261 MADISON LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20036 (JKS)
 In re:

 WEWORK 54 WEST 40TH LLC,                       Chapter 11

                    Debtor.                     Case No. 23-19984 (JKS)
 In re:

 WEWORK ASSET MANAGEMENT LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20045 (JKS)
 In re:

 WEWORK BRYANT PARK LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20068 (JKS)



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 In re:

 WEWORK CANADA GP ULC,                          Chapter 11

                    Debtor.                     Case No. 23-19866 (JKS)
 In re:

 WEWORK CANADA LP ULC,                          Chapter 11

                    Debtor.                     Case No. 23-19867 (JKS)
 In re:

 WEWORK COMMONS LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20076 (JKS)
 In re:

 WEWORK COMPANIES U.S. LLC,                     Chapter 11

                    Debtor.                     Case No. 23-19874 (JKS)
 In re:

 WEWORK COMPANIES PARTNER LLC,                  Chapter 11

                    Debtor.                     Case No. 23-19923 (JKS)
 In re:

 WEWORK CONSTRUCTION LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20091 (JKS)
 In re:

 WEWORK HOLDINGS LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20106 (JKS)
 In re:

 WEWORK INTERCO LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20118 (JKS)
 In re:

 WEWORK LA LLC,                                 Chapter 11

                    Debtor.                     Case No. 23-20138 (JKS)



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 In re:

 WEWORK LABS ENTITY LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20155 (JKS)
 In re:

 WEWORK LITTLE WEST 12TH LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20178 (JKS)
 In re:

 WEWORK MAGAZINE LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20189 (JKS)
 In re:

 WEWORK REAL ESTATE LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20216 (JKS)
 In re:

 WEWORK SERVICES LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20236 (JKS)
 In re:

 WEWORK SPACE SERVICES INC.,                    Chapter 11

                    Debtor.                     Case No. 23- 20249 (JKS)
 In re:

 WEWORK SPACE SERVICES LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20260 (JKS)
 In re:

 WEWORK WELLNESS LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20333 (JKS)
 In re:

 WEWORK WORKPLACE LLC,                          Chapter 11

                    Debtor.                     Case No. 23-20272 (JKS)



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 In re:

 WILDGOOSE I LLC,                               Chapter 11

                    Debtor.                     Case No. 23-20280 (JKS)
 In re:

 WW 1010 HANCOCK LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20281 (JKS)
 In re:

 WW 107 SPRING STREET LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20308 (JKS)
 In re:

 WW 11 JOHN LLC,                                Chapter 11

                    Debtor.                     Case No. 23-20290 (JKS)
 In re:

 WW 110 WALL LLC,                               Chapter 11

                    Debtor.                     Case No. 23-20315 (JKS)
 In re:

 WW 111 WEST ILLINOIS LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20322 (JKS)
 In re:

 WW 115 W 18TH STREET LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20328 (JKS)
 In re:

 WW 1161 MISSION LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20289 (JKS)
 In re:

 WW 120 E 23RD STREET LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20332 (JKS)



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 In re:

 WW 1328 FLORIDA AVENUE LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20293 (JKS)
 In re:

 WW 1550 WEWATTA STREET LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20302 (JKS)
 In re:

 WW 1601 FIFTH AVENUE LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20307 (JKS)
 In re:

 WW 1875 CONNECTICUT LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20314 (JKS)
 In re:

 WW 2015 SHATTUCK LLC,                          Chapter 11

                    Debtor.                     Case No. 23-20320 (JKS)
 In re:

 WW 205 E 42ND STREET LLC,                      Chapter 11

                    Debtor.                     Case No. 23-20247 (JKS)
 In re:

 WW 210 N GREEN LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20255 (JKS)
 In re:

 WW 220 NW EIGHTH AVENUE LLC,                   Chapter 11

                    Debtor.                     Case No. 23-20262 (JKS)
 In re:

 WW 222 BROADWAY LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20267 (JKS)



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 In re:

 WW 2221 SOUTH CLARK LLC,                       Chapter 11

                    Debtor.                     Case No. 23-20325 (JKS)
 In re:

 WW 240 BEDFORD LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20275 (JKS)
 In re:

 WW 25 BROADWAY LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20301 (JKS)
 In re:

 WW 26 JS MEMBER LLC,                           Chapter 11

                    Debtor.                     Case No. 23-19938 (JKS)
 In re:

 WW 312 ARIZONA LLC,                            Chapter 11

                    Debtor.                     Case No. 23-19976 (JKS)
 In re:

 WW 350 LINCOLN LLC,                            Chapter 11

                    Debtor.                     Case No. 23-19985 (JKS)
 In re:

 WW 379 W BROADWAY LLC,                         Chapter 11

                    Debtor.                     Case No. 23-19993 (JKS)
 In re:

 WW 401 PARK AVENUE SOUTH LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20001 (JKS)
 In re:

 WW 5 W 125TH STREET LLC,                       Chapter 11

                    Debtor.                     Case No. 23-19930 (JKS)



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 In re:

 WW 500 YALE LLC,                               Chapter 11

                    Debtor.                     Case No. 23-20008 (JKS)
 In re:

 WW 51 MELCHER LLC,                             Chapter 11

                    Debtor.                     Case No. 23-19946 (JKS)
 In re:

 WW 520 BROADWAY LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20016 (JKS)
 In re:

 WW 535 MISSION LLC,                            Chapter 11

                    Debtor.                     Case No. 23-20021 (JKS)
 In re:

 WW 555 WEST 5TH STREET LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20028 (JKS)
 In re:

 WW 5782 JEFFERSON LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20086 (JKS)
 In re:

 WW 600 CONGRESS LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20034 (JKS)
 In re:

 WW 641 S STREET LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20039 (JKS)
 In re:

 WW 718 7TH STREET LLC,                         Chapter 11

                    Debtor.                     Case No. 23-20046 (JKS)



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 In re:

 WW 745 ATLANTIC LLC,                           Chapter 11

                    Debtor.                     Case No. 23-20055 (JKS)
 In re:

 WW 79 MADISON LLC,                             Chapter 11

                    Debtor.                     Case No. 23-19954 (JKS)
 In re:

 WW 81 PROSPECT LLC,                            Chapter 11

                    Debtor.                     Case No. 23-19959 (JKS)
 In re:

 WW 811 WEST 7TH STREET LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20067 (JKS)
 In re:

 WW 85 BROAD LLC,                               Chapter 11

                    Debtor.                     Case No. 23-19968 (JKS)
 In re:

 WW 995 MARKET LLC,                             Chapter 11

                    Debtor.                     Case No. 23-20081 (JKS)
 In re:

 WW BROOKLYN NAVY YARD LLC,                     Chapter 11

                    Debtor.                     Case No. 23-20094 (JKS)
 In re:

 WW BUILDCO LLC,                                Chapter 11

                    Debtor.                     Case No. 23-20102 (JKS)
 In re:

 WW CO-OBLIGOR INC.,                            Chapter 11

                    Debtor.                     Case No. 23-20109 (JKS)



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 In re:

 WW ENLIGHTENED HOSPITALITY INVESTOR LLC,       Chapter 11

                    Debtor.                     Case No. 23-20115 (JKS)
 In re:

 WW HOLDCO LLC,                                 Chapter 11

                    Debtor.                     Case No. 23-20338 (JKS)
 In re:

 WW JOURNAL SQUARE HOLDINGS LLC,                Chapter 11

                    Debtor.                     Case No. 23-20124 (JKS)
 In re:

 WW JOURNAL SQUARE MEMBER LLC,                  Chapter 11

                    Debtor.                     Case No. 23-20130 (JKS)
 In re:

 WW ONSITE SERVICES AAG LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20137 (JKS)
 In re:

 WW ONSITE SERVICES EXP LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20144 (JKS)
 In re:

 WW ONSITE SERVICES LLC,                        Chapter 11

                    Debtor.                     Case No. 23-20151 (JKS)
 In re:

 WW ONSITE SERVICES SFI LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20156 (JKS)
 In re:

 WW ONSITE SERVICES SUM LLC,                    Chapter 11

                    Debtor.                     Case No. 23-20166 (JKS)



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 In re:

 WW PROJECT SWIFT DEVELOPMENT LLC,                   Chapter 11

                       Debtor.                       Case No. 23-20175 (JKS)
 In re:

 WW PROJECT SWIFT MEMBER LLC,                        Chapter 11

                       Debtor.                       Case No. 23-20278 (JKS)
 In re:

 WW VENDORCO LLC,                                    Chapter 11

                       Debtor.                       Case No. 23-20184 (JKS)
 In re:

 WW WORLDWIDE C.V.,                                  Chapter 11

                       Debtor.                       Case No. 23-19868 (JKS)
 In re:

 WWCO ARCHITECTURE HOLDINGS LLC,                     Chapter 11

                       Debtor.                       Case No. 23-20191 (JKS)

                ORDER (I) DIRECTING JOINT ADMINISTRATION OF
              CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

          The relief set forth on the following pages, numbered sixty-three (63) through

sixty-five (65), is ORDERED.




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(Page | 63)
Debtors:                  WeWork Inc., et al.
Case No.                  23-19865 (JFK)
Caption of Order:         Order (I) Directing Joint Administration of Chapter 11 Cases and
                          (II) Granting Related Relief

        Upon the Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of

Chapter 11 Cases and (II) Granting Related Relief (the “Motion”), 2 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), for entry of an order (this “Order”)

(a) authorizing, but not directing, the Debtors to procedurally consolidate and jointly administer

these chapter 11 cases; and (b) granting related relief, all as more fully set forth in the Motion; and

upon the First Day Declaration; and the Court having jurisdiction to consider the Motion and the

relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

District of New Jersey, entered July 23, 1984, and amended on September 18, 2012

(Simandle, C.J.); and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

Debtors’ notice of the Motion was appropriate under the circumstances and no other notice need

be provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The above–captioned cases hereby are jointly administrated by this Court for

procedural purposes only.



2
    Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Motion.
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Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Order (I) Directing Joint Administration of Chapter 11 Cases and
                        (II) Granting Related Relief

        3.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and

this Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

        4.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of New Jersey shall keep, one consolidated docket, one file, and one consolidated

service list for these chapter 11 cases.

        5.      All pleadings, papers, and documents filed in the Lead Case shall bear the caption

as shown in Exhibit 1 attached hereto.

        6.      The caption shown in Exhibit 1 attached hereto satisfies the requirements set forth

in section 342(c)(1) of the Bankruptcy Code.

        7.      All lists, schedules, and statements shall be filed and docketed in the specific

Debtor’s case to which they are applicable.

        8.      Any party in interest may request joint hearings on matters pending in any of these

chapter 11 cases.

        9.      If pleadings, papers, or documents have been filed in any of the above–captioned

cases other than the Lead Case prior to the entry of this Order, and those matters have not yet been

heard and decided, the party who filed the pleading, paper, or document shall (i) refile the pleading,

paper, or document in the Lead Case within three (3) business days of the entry of this Order,

(ii) set the pleading, paper, or document for hearing before the judge assigned to the Lead Case,

and (iii) notice the hearing to all appropriate parties.
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Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Order (I) Directing Joint Administration of Chapter 11 Cases and
                        (II) Granting Related Relief

       10.      The Clerk shall file a copy of this order in the Lead Case and each of the affiliated

Debtor cases.

       11.      The Debtors shall file individual monthly operating reports for each Debtor and

such reports shall be docketed in the Lead Case.

       12.      The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       13.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Local Rules are satisfied by such notice.

       14.      Any party may move for modification of this Order in accordance with

Local Rule 9013-5(e).

       15.      A true copy of this Order shall be served on all required parties pursuant to

Local Rule 9013-5(f).

       16.      This Order shall be effective immediately upon entry.

       17.      The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.
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                                   Exhibit 1

                                 Case Caption
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    Proposed Co-Counsel for Debtors and                        Proposed Co-Counsel for Debtors and
    Debtors in Possession                                      Debtors in Possession

                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


In re:                                                          Chapter 11

WEWORK INC., et al.,                                            Case No. 23-19865 (JKS)

                                     Debtors. 1                 (Jointly Administered)




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
      principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
      in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
      Beaverton, OR 97005.
